            Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                            Page:1 of 74
 Fill in this information to identify your case:

     United States Bankruptcy Court for the:
         District Of Georgia Southern
     ______________

     Case number (If known): _________________________ Chapter you are filing under:
                                                              Chapter 7
                                                              Chapter 11
                                                              Chapter 12
                                                          X
                                                               Chapter 13                                               Check if this is an
                                                                                                                           amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                       12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Part 1:       Identify Yourself

                                        About Debtor 1:                                           About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture        Bruce
                                        __________________________________________________        Heather
                                                                                                  __________________________________________________
       identification (for example,     First name                                                First name
       your driver’s license or         G
                                        __________________________________________________        S
                                                                                                  __________________________________________________
       passport).                       Middle name                                               Middle name

       Bring your picture               Alford Jr
                                        __________________________________________________        Alford
                                                                                                  __________________________________________________
       identification to your meeting   Last name                                                 Last name
       with the trustee.                ___________________________                               ___________________________
                                        Suffix (Sr., Jr., II, III)                                Suffix (Sr., Jr., II, III)




2.    All other names you               __________________________________________________        __________________________________________________
      have used in the last 8           First name                                                First name
      years
                                        __________________________________________________        __________________________________________________
       Include your married or          Middle name                                               Middle name
       maiden names.                    __________________________________________________        __________________________________________________
                                        Last name                                                 Last name

                                        __________________________________________________        __________________________________________________
                                        First name                                                First name

                                        __________________________________________________        __________________________________________________
                                        Middle name                                               Middle name
                                        __________________________________________________        __________________________________________________
                                        Last name                                                 Last name




3.    Only the last 4 digits of
      your Social Security              xxx    – xx – ____
                                                      8    9
                                                           ____ 7
                                                                ____ 4
                                                                     ____                        xxx    – xx – ____
                                                                                                               0    0
                                                                                                                    ____ 0
                                                                                                                         ____ 7
                                                                                                                              ____
      number or federal                 OR                                                       OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                          9 xx – xx – ____ ____ ____ ____
      (ITIN)

Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                           page 1
           Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                                        Page:2 of 74
Debtor 1        Bruce G Alford Jr
                _______________________________________________________                            Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




                                           About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):


4.    Any business names
      and Employer                          I have not used any business names or EINs.                
                                                                                                        X
                                                                                                          I have not used any business names or EINs.
      Identification Numbers
      (EIN) you have used in               Georgia-Lina Pools & Landscaping LLC
                                           _________________________________________________            _________________________________________________
      the last 8 years                     Business name                                                Business name

      Include trade names and
                                           CSRA Lawn & Sprinkler LLC
                                           _________________________________________________            _________________________________________________
      doing business as names              Business name                                                Business name


                                           8 ___
                                           ___ 2 – ___
                                                    1 ___
                                                       6 ___
                                                          2 ___
                                                             5 ___
                                                                4 ___
                                                                   8 ___
                                                                      7                                 ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                           EIN                                                          EIN

                                           4 ___
                                           ___ 6 – ___
                                                    0 ___
                                                       6 ___
                                                          1 ___
                                                             0 ___
                                                                6 ___
                                                                   3 ___
                                                                      4                                 ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                           EIN                                                          EIN




5.    Where you live                                                                                    If Debtor 2 lives at a different address:


                                           515 Sweet Meadow Drive
                                           _________________________________________________            _________________________________________________
                                           Number     Street                                            Number     Street


                                           _________________________________________________            _________________________________________________


                                           Grovetown                       GA       30813
                                           _________________________________________________            _________________________________________________
                                           City                            State   ZIP Code             City                            State   ZIP Code

                                           COLUMBIA
                                           _________________________________________________            _________________________________________________
                                           County                                                       County


                                           If your mailing address is different from the one            If Debtor 2’s mailing address is different from
                                           above, fill it in here. Note that the court will send        yours, fill it in here. Note that the court will send
                                           any notices to you at this mailing address.                  any notices to this mailing address.


                                           _________________________________________________            _________________________________________________
                                           Number     Street                                            Number     Street


                                           _________________________________________________            _________________________________________________
                                           P.O. Box                                                     P.O. Box

                                           _________________________________________________            _________________________________________________
                                           City                            State   ZIP Code             City                            State   ZIP Code




6.    Why you are choosing                 Check one:                                                   Check one:
      this district to file for
      bankruptcy                            Over the last 180 days before filing this petition,
                                           X
                                                                                                        
                                                                                                        X
                                                                                                          Over the last 180 days before filing this petition,
                                               I have lived in this district longer than in any            I have lived in this district longer than in any
                                               other district.                                             other district.

                                            I have another reason. Explain.                             I have another reason. Explain.
                                               (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)
                                               ________________________________________                    ________________________________________
                                               ________________________________________                    ________________________________________
                                               ________________________________________                    ________________________________________
                                               ________________________________________                    ________________________________________



     Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                   page 2
           Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                                       Page:3 of 74
Debtor 1        Bruce G Alford Jr
                _______________________________________________________                            Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




Part 2:       Tell the Court About Your Bankruptcy Case


7.    The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                  for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
      under
                                            Chapter 7
                                            Chapter 11
                                            Chapter 12
                                           
                                           X Chapter 13




8.    How you will pay the fee             
                                           X I will pay the entire fee when I file my petition. Please check with the clerk’s office in your

                                              local court for more details about how you may pay. Typically, if you are paying the fee
                                              yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                              submitting your payment on your behalf, your attorney may pay with a credit card or check
                                              with a pre-printed address.

                                            I need to pay the fee in installments. If you choose this option, sign and attach the
                                              Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                            I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                              By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                              less than 150% of the official poverty line that applies to your family size and you are unable to
                                              pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                              Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for                   
                                           X
                                             No
      bankruptcy within the
      last 8 years?                         Yes.    District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY



10.   Are any bankruptcy                   
                                           X No
      cases pending or being
      filed by a spouse who is              Yes.    Debtor _________________________________________________ Relationship to you      _____________________
      not filing this case with                      District __________________________ When     _______________ Case number, if known____________________
      you, or by a business                                                                       MM / DD / YYYY
      partner, or by an
      affiliate?
                                                     Debtor _________________________________________________ Relationship to you      _____________________

                                                     District __________________________ When     _______________ Case number, if known____________________
                                                                                                  MM / DD / YYYY



11.   Do you rent your                     
                                           X
                                             No.     Go to line 12.
      residence?                            Yes.    Has your landlord obtained an eviction judgment against you?

                                                        No. Go to line 12.
                                                        Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                         part of this bankruptcy petition.




     Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
           Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                                              Page:4 of 74
Debtor 1        Bruce G Alford Jr
                _______________________________________________________                                    Case number (if known)_____________________________________
                First Name        Middle Name             Last Name




Part 3:       Report About Any Businesses You Own as a Sole Proprietor


12.   Are you a sole proprietor                 
                                                X
                                                  No. Go to Part 4.
      of any full- or part-time
      business?                                  Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an                         _______________________________________________________________________________________
                                                         Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or                     _______________________________________________________________________________________
                                                         Number    Street
      LLC.
      If you have more than one
                                                         _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                                  _______________________________________________          _______      __________________________
                                                          City                                                    State        ZIP Code


                                                         Check the appropriate box to describe your business:
                                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                            None of the above


13.   Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                                any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      are you a small business
      debtor?
                                                
                                                X
                                                  No.    I am not filing under Chapter 11.
      For a definition of small
      business debtor, see                       No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. § 101(51D).                              the Bankruptcy Code.

                                                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                         Bankruptcy Code.


Part 4:       Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14.   Do you own or have any                    
                                                X No

      property that poses or is
      alleged to pose a threat                   Yes.    What is the hazard?      ________________________________________________________________________
      of imminent and
      identifiable hazard to                                                       ________________________________________________________________________
      public health or safety?
      Or do you own any
      property that needs
                                                          If immediate attention is needed, why is it needed? _______________________________________________
      immediate attention?
      For example, do you own                                                      ________________________________________________________________________
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                          Where is the property? ________________________________________________________________________
                                                                                   Number         Street


                                                                                   ________________________________________________________________________

                                                                                  ________________________________________ _______            ____________________
                                                                                  City                                     State              ZIP Code


  Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                    page 4
           Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                                                 Page:5 of 74
Debtor 1        Bruce G Alford Jr
                _______________________________________________________                                    Case number (if known)_____________________________________
                First Name     Middle Name              Last Name




Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling

                                             About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit                  You must check one:                                                 You must check one:
      counseling.
                                              I received a briefing from an approved credit
                                             X
                                                                                                                  I received a briefing from an approved credit
                                                                                                                  X

                                                 counseling agency within the 180 days before I                       counseling agency within the 180 days before I
      The law requires that you                  filed this bankruptcy petition, and I received a                     filed this bankruptcy petition, and I received a
      receive a briefing about credit            certificate of completion.                                           certificate of completion.
      counseling before you file for
                                                 Attach a copy of the certificate and the payment                     Attach a copy of the certificate and the payment
      bankruptcy. You must
                                                 plan, if any, that you developed with the agency.                    plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you
      cannot do so, you are not
                                              I received a briefing from an approved credit                      I received a briefing from an approved credit
                                                 counseling agency within the 180 days before I                       counseling agency within the 180 days before I
      eligible to file.                          filed this bankruptcy petition, but I do not have a                  filed this bankruptcy petition, but I do not have a
                                                 certificate of completion.                                           certificate of completion.
      If you file anyway, the court
                                                 Within 14 days after you file this bankruptcy petition,              Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                                 you MUST file a copy of the certificate and payment                  you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                                 plan, if any.                                                        plan, if any.
      you paid, and your creditors
      can begin collection activities         I certify that I asked for credit counseling                       I certify that I asked for credit counseling
      again.                                     services from an approved agency, but was                            services from an approved agency, but was
                                                 unable to obtain those services during the 7                         unable to obtain those services during the 7
                                                 days after I made my request, and exigent                            days after I made my request, and exigent
                                                 circumstances merit a 30-day temporary waiver                        circumstances merit a 30-day temporary waiver
                                                 of the requirement.                                                  of the requirement.
                                                 To ask for a 30-day temporary waiver of the                          To ask for a 30-day temporary waiver of the
                                                 requirement, attach a separate sheet explaining                      requirement, attach a separate sheet explaining
                                                 what efforts you made to obtain the briefing, why                    what efforts you made to obtain the briefing, why
                                                 you were unable to obtain it before you filed for                    you were unable to obtain it before you filed for
                                                 bankruptcy, and what exigent circumstances                           bankruptcy, and what exigent circumstances
                                                 required you to file this case.                                      required you to file this case.
                                                 Your case may be dismissed if the court is                           Your case may be dismissed if the court is
                                                 dissatisfied with your reasons for not receiving a                   dissatisfied with your reasons for not receiving a
                                                 briefing before you filed for bankruptcy.                            briefing before you filed for bankruptcy.
                                                 If the court is satisfied with your reasons, you must                If the court is satisfied with your reasons, you must
                                                 still receive a briefing within 30 days after you file.              still receive a briefing within 30 days after you file.
                                                 You must file a certificate from the approved                        You must file a certificate from the approved
                                                 agency, along with a copy of the payment plan you                    agency, along with a copy of the payment plan you
                                                 developed, if any. If you do not do so, your case                    developed, if any. If you do not do so, your case
                                                 may be dismissed.                                                    may be dismissed.
                                                 Any extension of the 30-day deadline is granted                      Any extension of the 30-day deadline is granted
                                                 only for cause and is limited to a maximum of 15                     only for cause and is limited to a maximum of 15
                                                 days.                                                                days.

                                              I am not required to receive a briefing about                      I am not required to receive a briefing about
                                                 credit counseling because of:                                        credit counseling because of:

                                                  Incapacity.      I have a mental illness or a mental                Incapacity.      I have a mental illness or a mental
                                                                    deficiency that makes me                                             deficiency that makes me
                                                                    incapable of realizing or making                                     incapable of realizing or making
                                                                    rational decisions about finances.                                   rational decisions about finances.
                                                  Disability.      My physical disability causes me                   Disability.      My physical disability causes me
                                                                    to be unable to participate in a                                     to be unable to participate in a
                                                                    briefing in person, by phone, or                                     briefing in person, by phone, or
                                                                    through the internet, even after I                                   through the internet, even after I
                                                                    reasonably tried to do so.                                           reasonably tried to do so.
                                                  Active duty.     I am currently on active military                  Active duty.     I am currently on active military
                                                                    duty in a military combat zone.                                      duty in a military combat zone.
                                                 If you believe you are not required to receive a                     If you believe you are not required to receive a
                                                 briefing about credit counseling, you must file a                    briefing about credit counseling, you must file a
                                                 motion for waiver of credit counseling with the court.               motion for waiver of credit counseling with the court.




  Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                           page 5
           Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                                            Page:6 of 74
Debtor 1       Bruce G Alford Jr
               _______________________________________________________                                  Case number (if known)_____________________________________
               First Name    Middle Name             Last Name




Part 6:      Answer These Questions for Reporting Purposes

                                           16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                     as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                                   No. Go to line 16b.
                                                
                                                X
                                                    Yes. Go to line 17.

                                           16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                money for a business or investment or through the operation of the business or investment.
                                                   No. Go to line 16c.
                                                   Yes. Go to line 17.

                                           16c. State the type of debts you owe that are not consumer debts or business debts.
                                                _______________________________________________________________

17.   Are you filing under
      Chapter 7?                           
                                           X
                                             No.    I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after            Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                                     No
      administrative expenses
      are paid that funds will be                      Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do                
                                           X
                                             1-49                                      1,000-5,000                            25,001-50,000
      you estimate that you                 50-99                                     5,001-10,000                           50,001-100,000
      owe?                                  100-199                                   10,001-25,000                          More than 100,000
                                            200-999
19.   How much do you                       $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your assets to               $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      be worth?                            
                                           X
                                             $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                            $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
20.   How much do you                       $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your liabilities             $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      to be?                                $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                           
                                           X
                                             $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
Part 7:      Sign Below

                                           I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                    correct.
                                           If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                           of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                           under Chapter 7.
                                           If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                           this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                           I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                           I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                           with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                           18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                              s/Bruce G Alford Jr
                                              ______________________________________________               _____________________________
                                                                                                               s/Heather S Alford
                                              Signature of Debtor 1                                            Signature of Debtor 2

                                                          11/01/2018
                                              Executed on _________________                                                11/01/2018
                                                                                                               Executed on __________________
                                                                 MM   / DD   / YYYY                                          MM / DD     / YYYY


  Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                       page 6
           Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                                          Page:7 of 74
Debtor 1      Bruce G Alford Jr
              _______________________________________________________                               Case number (if known)_____________________________________
              First Name   Middle Name             Last Name




                                         I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are            to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                       available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                         the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented               knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                         _________________________________
                                             s/Angela McElroy-Magruder                                       Date           _________________
                                                                                                                            11/01/2018
                                            Signature of Attorney for Debtor                                                MM    /   DD / YYYY




                                            Angela McElroy-Magruder
                                            _________________________________________________________________________________________________
                                            Printed name

                                            Claeys McElroy-Magruder & Kitchens
                                            _________________________________________________________________________________________________
                                            Firm name

                                            512 Telfair Street
                                            _________________________________________________________________________________________________
                                            Number Street

                                            _________________________________________________________________________________________________

                                            Augusta
                                            ______________________________________________________ GA
                                                                                                   ____________ 30901
                                                                                                                ______________________________
                                            City                                                   State        ZIP Code




                                                          (706) 724-6000
                                            Contact phone _____________________________________             Email address   mcelroymagruder@aol.com
                                                                                                                            ______________________________




                                            113625
                                            ______________________________________________________ GA
                                                                                                   ____________
                                            Bar number                                             State




  Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                       page 7
             Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                                    Page:8 of 74
Fill in this information to identify your case and this filing:


Debtor 1          Bruce              G                    Alford Jr
                  __________________________________________________________________
                    First Name               Middle Name                Last Name

Debtor 2            Heather           S                    Alford
                    ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                Last Name


                                        District of Georgia Southern
United States Bankruptcy Court for the: ______________________________________

Case number         ___________________________________________
                                                                                                                                         Check if this is an
                                                                                                                                             amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                  12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
    
    X
         Yes. Where is the property?
                                                                 What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                 
                                                                 X
                                                                      Single-family home                           the amount of any secured claims on Schedule D:
            515 Sweet Meadow Drive
      1.1. _________________________________________                 Duplex or multi-unit building
                                                                                                                   Creditors Who Have Claims Secured by Property.
           Street address, if available, or other description
                                                                     Condominium or cooperative                   Current value of the     Current value of the
                                                                     Manufactured or mobile home                  entire property?         portion you own?
             _________________________________________
                                                                     Land                                          192,060.00
                                                                                                                   $________________         192,060.00
                                                                                                                                            $_______________
                                                                     Investment property
              Grovetown      GA              30813
             _________________________________________
             City                    State    ZIP Code
                                                                     Timeshare                                    Describe the nature of your ownership
                                                                                                                   interest (such as fee simple, tenancy by
                                                                     Other __________________________________     the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.
                                                                                                                    Fee Simple Ownership
                                                                                                                   __________________________________________
              Columbia                                           Debtor 1 only
             _________________________________________
             County                                              
                                                                 X
                                                                   Debtor 2 only
                                                                 Debtor 1 and Debtor 2 only                       Check if this is community property
                                                                                                                       (see instructions)
                                                                 At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                                                  residence/tax value
                                                                 property identification number: _______________________________
    If you own or have more than one, list here:
                                                                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                            the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.
      1.2. ________________________________________
           Street address, if available, or other description
                                                                    Duplex or multi-unit building
                                                                   Condominium or cooperative                     Current value of the     Current value of the
                                                                    Manufactured or mobile home                   entire property?         portion you own?
             ________________________________________
                                                                    Land                                          $________________        $_________________
                                                                    Investment property
             ________________________________________
             City                    State   ZIP Code
                                                                    Timeshare
                                                                                                                   Describe the nature of your ownership
                                                                                                                   interest (such as fee simple, tenancy by
                                                                    Other __________________________________      the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.    __________________________________________

                                                                
                                                                 Debtor 1 only
             ________________________________________
             County                                             
                                                                 Debtor 2 only
                                                                
                                                                 Debtor 1 and Debtor 2 only                         Check if this is community property
                                                                
                                                                 At least one of the debtors and another               (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number: _______________________________


   Official Form 106A/B                                         Schedule A/B: Property                                                              page 1
Debtor 1      Bruce        G
           Case:18-11560-SDB                Alford JrFiled:11/01/18 Entered:11/01/18
                                        Doc#:1
              _______________________________________________________                       16:45:06
                                                                           Case number (if known)             Page:9 of 74
                                                                                                  _____________________________________
              First Name   Middle Name      Last Name




                                                              What is the property? Check all that apply.                 Do not deduct secured claims or exemptions. Put

    1.3. ________________________________________
                                                                  Single-family home                                     the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
         Street address, if available, or other description       Duplex or multi-unit building
                                                                  Condominium or cooperative                             Current value of the      Current value of the
                                                                                                                          entire property?          portion you own?
           ________________________________________               Manufactured or mobile home
                                                                  Land                                                   $________________         $_________________

           ________________________________________               Investment property
           City                    State   ZIP Code               Timeshare
                                                                                                                          Describe the nature of your ownership
                                                                                                                          interest (such as fee simple, tenancy by
                                                                  Other __________________________________               the entireties, or a life estate), if known.
                                                                                                                         __________________________________________
                                                              Who has an interest in the property? Check one.
           ________________________________________           
                                                               Debtor 1 only
           County
                                                              
                                                               Debtor 2 only
                                                              
                                                               Debtor 1 and Debtor 2 only                                  Check if this is community property
                                                              
                                                               At least one of the debtors and another
                                                                                                                              (see instructions)

                                                              Other information you wish to add about this item, such as local
                                                              property identification number: _______________________________


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                  192,060.00
                                                                                                                                                    $_________________
   you have attached for Part 1. Write that number here. ...................................................................................... 




Part 2:     Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   No
   
   X Yes




           Make:                    Ford
                                    ______________            Who has an interest in the property? Check one.             Do not deduct secured claims or exemptions. Put
   3.1.

           Model:                   F250
                                    ______________
                                                              Debtor 1 only
                                                                                                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                    2014
                                                              
                                                              X
                                                                Debtor 2 only
           Year:                    ____________
                                                              Debtor 1 and Debtor 2 only                                Current value of the      Current value of the
                                65,000                                                                                    entire property?          portion you own?
           Approximate mileage: ____________                  At least one of the debtors and another
           Other information:
                                                                Check if this is community property (see                  21,075.00
                                                                                                                          $________________          21,075.00
                                                                                                                                                    $________________
           surrender
                                                                  instructions)



   If you own or have more than one, describe here:

           Make:                    ______________            Who has an interest in the property? Check one.             Do not deduct secured claims or exemptions. Put
   3.2.

           Model:                   ______________
                                                              
                                                               Debtor 1 only
                                                                                                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                                              
                                                               Debtor 2 only
           Year:                    ____________
                                                              
                                                               Debtor 1 and Debtor 2 only
                                                                                                                          Current value of the
                                                                                                                          entire property?
                                                                                                                                                    Current value of the
                                                                                                                                                    portion you own?
           Approximate mileage: ____________                  
                                                               At least one of the debtors and another
           Other information:
                                                                Check if this is community property (see                 $________________         $________________
                                                                  instructions)




Official Form 106A/B                                           Schedule A/B: Property                                                                      page 2
Debtor 1      Bruce        G
           Case:18-11560-SDB                Alford Jr
                                       Doc#:1         Filed:11/01/18 Entered:11/01/18
              _______________________________________________________        Case number (if 16:45:06         Page:10 of 74
                                                                                             known)_____________________________________
              First Name   Middle Name      Last Name




            Make:                            ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.3.

            Model:                           ______________                   
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:                            ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
                                                                                                                                                         entire property?                 portion you own?
            Approximate mileage: ____________                                 
                                                                               At least one of the debtors and another
            Other information:
                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                   instructions)


            Make:                            ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.4.

            Model:                           ______________                   
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:                            ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
                                                                                                                                                         entire property?                 portion you own?
            Approximate mileage: ____________                                 
                                                                               At least one of the debtors and another
            Other information:
                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                   instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   No
   
   X Yes




            Make:       Bobcat
                        ____________________                                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.1.
                   MT55
            Model: ____________________                                       Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.

                        2015
                                                                              
                                                                              X
                                                                                Debtor 2 only
            Year:       ____________
                                                                              Debtor 1 and Debtor 2 only                                               Current value of the             Current value of the
            Other information:                                                At least one of the debtors and another                                  entire property?                 portion you own?
            sold for scrap
                                                                               Check if this is community property (see                                  1,000.00
                                                                                                                                                         $________________                 1,000.00
                                                                                                                                                                                          $________________
                                                                                  instructions)



   If you own or have more than one, list here:

            Make:       Gravely
                        ____________________                                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.2.
                   Mowers
            Model: ____________________                                       Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                        2014
                                                                              
                                                                              X Debtor 2 only
            Year:       ____________                                                                                                                     Current value of the             Current value of the
                                                                              Debtor 1 and Debtor 2 only
                                                                                                                                                         entire property?                 portion you own?
            Other information:                                                At least one of the debtors and another

                                                                                                                                                          8,000.00
                                                                                                                                                         $________________                 8,000.00
                                                                                                                                                                                          $________________
                                                                               Check if this is community property (see
                                                                                  instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                       30,075.00
                                                                                                                                                                                         $_________________
   you have attached for Part 2. Write that number here ............................................................................................................................ 




Official Form 106A/B                                                           Schedule A/B: Property                                                                                           page 3
Debtor 1      Bruce        G
           Case:18-11560-SDB                Alford Jr
                                       Doc#:1         Filed:11/01/18 Entered:11/01/18
              _______________________________________________________        Case number (if 16:45:06         Page:11 of 74
                                                                                             known)_____________________________________
              First Name   Middle Name      Last Name




Part 3:        Describe Your Personal and Household Items

                                                                                                                                                                                                   Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                  portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
       No
   
   X
        Yes. Describe. ........          misc furnishings & appliances located at residence                                                                                                          4,200.00
                                                                                                                                                                                                    $___________________

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
       No
   
   X    Yes. Describe. ......... misc              electronics located at residence                                                                                                                  750.00
                                                                                                                                                                                                    $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
    No
   X Yes. Describe. ......... misc items located at residence
                                                                                                                                                                                                      300.00
                                                                                                                                                                                                    $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
       No
   
   X    Yes. Describe. ......... misc              items located at residence                                                                                                                        200.00
                                                                                                                                                                                                    $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   X No

    Yes. Describe. ..........                                                                                                                                                                      $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
       No
                               misc               wearing apparel located on person/residence
   X    Yes. Describe. ..........                                                                                                                                                                    500.00
                                                                                                                                                                                                    $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
       No
   
   X    Yes. Describe. ..........misc              jewelry located on person/residence                                                                                                                1,100.00
                                                                                                                                                                                                    $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

       No
   
   X                             3
        Yes. Describe. ............          dogs located at residence                                                                                                                                75.00
                                                                                                                                                                                                    $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   
   X
        No
       Yes. Give specific
                                                                                                                                                                                                    $___________________
        information..................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                       7,125.00
                                                                                                                                                                                                    $______________________
   for Part 3. Write that number here ........................................................................................................................................................ 



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 4
Debtor 1       Bruce       G
           Case:18-11560-SDB                Alford Jr
                                       Doc#:1         Filed:11/01/18 Entered:11/01/18
              _______________________________________________________        Case number (if 16:45:06         Page:12 of 74
                                                                                             known)_____________________________________
              First Name   Middle Name      Last Name




Part 4:       Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                          Current value of the
                                                                                                                                                                                                                     portion you own?
                                                                                                                                                                                                                     Do not deduct secured claims
                                                                                                                                                                                                                     or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition


 X     No
     Yes .....................................................................................................................................................................    Cash: .......................    $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
   
   X   Yes .....................                                                                  Institution name:


                                             17.1. Checking account:                              South State Bank
                                                                                                  _________________________________________________________                                                            6.00
                                                                                                                                                                                                                      $__________________

                                             17.2. Checking account:                              PenFed
                                                                                                  _________________________________________________________                                                            34.95
                                                                                                                                                                                                                      $__________________

                                             17.3. Savings account:                               _________________________________________________________                                                           $__________________

                                             17.4. Savings account:                               _________________________________________________________                                                           $__________________

                                             17.5. Certificates of deposit:                       _________________________________________________________                                                           $__________________

                                             17.6. Other financial account:                       _________________________________________________________                                                           $__________________

                                             17.7. Other financial account:                       _________________________________________________________                                                           $__________________

                                             17.8. Other financial account:                       _________________________________________________________                                                           $__________________

                                             17.9. Other financial account:                       _________________________________________________________                                                           $__________________




18. Bonds, mutual funds, or publicly traded stocks
  Examples: Bond funds, investment accounts with brokerage firms, money market accounts

 X     No
     Yes ..................                Institution or issuer name:

                                             _________________________________________________________________________________________                                                                                $__________________
                                             _________________________________________________________________________________________                                                                                $__________________
                                             _________________________________________________________________________________________                                                                                $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture

   
   X No                                      Name of entity:                                                                                                                         % of ownership:
   Yes. Give specific                      _____________________________________________________________________                                                                   ___________%                     $__________________
       information about
       them. ........................        _____________________________________________________________________                                                                   ___________%                     $__________________
                                             _____________________________________________________________________                                                                   ___________%                     $__________________




Official Form 106A/B                                                                            Schedule A/B: Property                                                                                                            page 5
Debtor 1       Bruce       G
           Case:18-11560-SDB                Alford Jr
                                       Doc#:1         Filed:11/01/18 Entered:11/01/18
              _______________________________________________________        Case number (if 16:45:06         Page:13 of 74
                                                                                             known)_____________________________________
              First Name   Middle Name      Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.


 X No

 Yes. Give specific                    Issuer name:
       information about
       them. ......................      ______________________________________________________________________________________           $__________________
                                         ______________________________________________________________________________________
                                                                                                                                          $__________________
                                         ______________________________________________________________________________________
                                                                                                                                          $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   
   X   No
      Yes. List each
       account separately. . Type of account:                      Institution name:

                                         401(k) or similar plan:   ___________________________________________________________________    $__________________

                                         Pension plan:             ___________________________________________________________________    $__________________

                                         IRA:                      ___________________________________________________________________    $__________________

                                         Retirement account:       ___________________________________________________________________    $__________________

                                         Keogh:                    ___________________________________________________________________    $__________________

                                         Additional account:       ___________________________________________________________________    $__________________

                                         Additional account:       ___________________________________________________________________    $__________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   
   X   No
      Yes ...........................                         Institution name or individual:

                                         Electric:             ______________________________________________________________________     $___________________
                                         Gas:                  ______________________________________________________________________     $___________________
                                         Heating oil:          ______________________________________________________________________
                                                                                                                                          $___________________
                                         Security deposit on rental unit: _____________________________________________________________
                                                                                                                                          $___________________
                                         Prepaid rent:         ______________________________________________________________________
                                                                                                                                          $___________________
                                         Telephone:            ______________________________________________________________________
                                                                                                                                          $___________________
                                         Water:                ______________________________________________________________________
                                                                                                                                          $___________________
                                         Rented furniture:     ______________________________________________________________________
                                                                                                                                          $___________________
                                         Other:                ______________________________________________________________________
                                                                                                                                          $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   
   X   No
      Yes ...........................   Issuer name and description:
                                         _______________________________________________________________________________________          $__________________
                                         _______________________________________________________________________________________          $__________________
                                         _______________________________________________________________________________________          $__________________


Official Form 106A/B                                                        Schedule A/B: Property                                                 page 6
Debtor 1      Bruce        G
           Case:18-11560-SDB                Alford Jr
                                       Doc#:1         Filed:11/01/18 Entered:11/01/18
              _______________________________________________________        Case number (if 16:45:06         Page:14 of 74
                                                                                             known)_____________________________________
              First Name   Middle Name      Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   
   X   No
      Yes .....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                   ____________________________________________________________________________________                 $_________________
                                                   ____________________________________________________________________________________                 $_________________
                                                   ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


Money or property owed to you?                                                                                                                          Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

   
   X
       No
      Yes. Give specific information                                                                                         Federal:              $_________________
            about them, including whether
            you already filed the returns                                                                                     State:                $_________________
            and the tax years. ......................
                                                                                                                              Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   
   X   No
      Yes. Give specific information. .............
                                                                                                                             Alimony:                   $________________
                                                                                                                             Maintenance:               $________________
                                                                                                                             Support:                   $________________
                                                                                                                             Divorce settlement:        $________________
                                                                                                                             Property settlement:       $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   
   X   No
      Yes. Give specific information. ...............
                                                                                                                                                        $______________________



Official Form 106A/B                                                      Schedule A/B: Property                                                                  page 7
Debtor 1      Bruce        G
           Case:18-11560-SDB                Alford Jr
                                       Doc#:1         Filed:11/01/18 Entered:11/01/18
              _______________________________________________________        Case number (if 16:45:06         Page:15 of 74
                                                                                             known)_____________________________________
              First Name   Middle Name      Last Name




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       No
   
   X    Yes. Name the insurance company              Company name:                                                                               Beneficiary:                                        Surrender or refund value:
             of each policy and list its value. ....
                                                                      American General
                                                                      ___________________________________________ spouse
                                                                                                                  ____________________________                                                        0.00
                                                                                                                                                                                                     $__________________
                                                                      ___________________________________________ ____________________________                                                       $__________________
                                                                      ___________________________________________ ____________________________                                                       $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   
   X    No
       Yes. Give specific information. .............
                                                                                                                                                                                                     $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   X    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                     $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
       No
   
   X    Yes. Describe each claim. ..................... possible                     cause of action against payday lenders - value unknown
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________




35. Any financial assets you did not already list

   
   X
        No
       Yes. Give specific information. ...........
                                                                                                                                                                                                     $_____________________



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ........................................................................................................................................................       40.95
                                                                                                                                                                                                     $_____________________




Part 5:          Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

   
   X
        No. Go to Part 6.
       Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned


 X      No
       Yes. Describe ........
                                                                                                                                                                                                   $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

   
   X
        No
       Yes. Describe ........                                                                                                                                                                     $_____________________



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 8
Debtor 1       Bruce       G
           Case:18-11560-SDB                Alford Jr
                                       Doc#:1         Filed:11/01/18 Entered:11/01/18
              _______________________________________________________        Case number (if 16:45:06         Page:16 of 74
                                                                                             known)_____________________________________
              First Name   Middle Name      Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   
   X    No
       Yes. Describe ........
                                                                                                                                                                                                   $_____________________


41. Inventory
   
   X    No
       Yes. Describe ........                                                                                                                                                                     $_____________________


42. Interests in partnerships or joint ventures

   
   X    No
       Yes. Describe ........ Name of entity:                                                                                                                        % of ownership:
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________


43. Customer lists, mailing lists, or other compilations
 
 X      No
      Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                
                X
                      No
                     Yes. Describe.........
                                                                                                                                                                                                   $____________________


44. Any business-related property you did not already list
   
   X    No
       Yes. Give specific
                              ______________________________________________________________________________________                                                                               $____________________
        information .........
                                          ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                      0.00
                                                                                                                                                                                                   $____________________
   for Part 5. Write that number here ........................................................................................................................................................ 




Part 6:          Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   
   X
     No. Go to Part 7.
    Yes. Go to line 47.
                                                                                                                                                                                                 Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
   
   X    No
       Yes ...........................

                                                                                                                                                                                                     $___________________



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 9
 Debtor 1        Bruce       G
             Case:18-11560-SDB                Alford Jr
                                         Doc#:1         Filed:11/01/18 Entered:11/01/18
                _______________________________________________________        Case number (if 16:45:06         Page:17 of 74
                                                                                               known)_____________________________________
                First Name   Middle Name      Last Name




48. Crops—either growing or harvested

     
     X     No
          Yes. Give specific
           information. ............                                                                                                                                                                            $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
     
     X     No
          Yes ...........................
                                                                                                                                                                                                                $___________________

50. Farm and fishing supplies, chemicals, and feed

     
     X     No
          Yes ...........................
                                                                                                                                                                                                                $___________________

51. Any farm- and commercial fishing-related property you did not already list

 X         No
          Yes. Give specific
           information. ............                                                                                                                                                                            $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                                 0.00
                                                                                                                                                                                                                $___________________
     for Part 6. Write that number here ........................................................................................................................................................ 



Part 7:             Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

          No
                                             mowers, household/yards tools located at residence                                                                                                                   450.00
                                                                                                                                                                                                                 $________________
     
     X     Yes. Give specific
           information. ............                                                                                                                                                                              $________________
                                                                                                                                                                                                                  $________________


54. Add the dollar value of all of your entries from Part 7. Write that number here ...................................................................                                                           450.00
                                                                                                                                                                                                                  $________________




Part 8:             List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 ....................................................................................................................................................................      192,060.00
                                                                                                                                                                                                                $________________

56. Part 2: Total vehicles, line 5                                                                                    30,075.00
                                                                                                                     $________________

57. Part 3: Total personal and household items, line 15                                                               7,125.00
                                                                                                                     $________________

58. Part 4: Total financial assets, line 36                                                                           40.95
                                                                                                                     $________________

59. Part 5: Total business-related property, line 45                                                                  0.00
                                                                                                                     $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                         0.00
                                                                                                                     $________________

61. Part 7: Total other property not listed, line 54                                                             + $________________
                                                                                                                    450.00

62. Total personal property. Add lines 56 through 61. ...................                                             37,690.95
                                                                                                                     $________________ Copy personal property total                                           + $_________________
                                                                                                                                                                                                                  37,690.95


63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                        229,750.95
                                                                                                                                                                                                                $_________________



 Official Form 106A/B                                                                        Schedule A/B: Property                                                                                                      page 10
             Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                                                        Page:18 of 74
Fill in this information to identify your case:

Debtor 1          Bruce G Alford Jr
                  __________________________________________________________________
                    First Name                   Middle Name                       Last Name

Debtor 2            Heather S Alford
                    ________________________________________________________________
(Spouse, if filing) First Name                   Middle Name                       Last Name


                                        District of Georgia Southern
United States Bankruptcy Court for the: ______________________________________

Case number         ___________________________________________
(If known)                                                                                                                                                   Check if this is an
                                                                                                                                                                amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
            No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      X
             Yes. Fill in all of the information below.


Part 1:          List All Secured Claims
                                                                                                                               Column A               Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                        Amount of claim        Value of collateral   Unsecured
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                    Do not deduct the      that supports this    portion
      As much as possible, list the claims in alphabetical order according to the creditor’s name.                             value of collateral.   claim                 If any

2.1                                                            Describe the property that secures the claim:                     103,496.38
                                                                                                                               $_________________   0.00
                                                                                                                                                  $________________   103,496.38
                                                                                                                                                                    $____________
      Crestview Financial LLC
      ______________________________________
      Creditor’s Name
                                                           judgment
      1430 Broadway
      ______________________________________
      Number            Street

                                                               As of the date you file, the claim is: Check all that apply.
      Ste 402
      ______________________________________
                                                                   Contingent
      New York              NY 10018
      ______________________________________                       Unliquidated
      City                           State   ZIP Code          
                                                               X
                                                                    Disputed
   Who owes the debt? Check one.                               Nature of lien. Check all that apply.
          Debtor 1 only                                           An agreement you made (such as mortgage or secured
          Debtor 2 only                                            car loan)
          Debtor 1 and Debtor 2 only                              Statutory lien (such as tax lien, mechanic’s lien)
   
   X
           At least one of the debtors and another             X
                                                                    Judgment lien from a lawsuit
                                                                   Other (including a right to offset) ____________________
     Check if this claim relates to a
      community debt
                            10/2017
   Date debt was incurred ____________                                                          8 ___
                                                               Last 4 digits of account number ___ 9 ___
                                                                                                      7 ___
                                                                                                         4
2.2                                                            Describe the property that secures the claim:                    156,987.81
                                                                                                                               $_________________   192,060.00 $____________
                                                                                                                                                  $________________ 0.00
      Loancare Servicing
      ______________________________________
      Creditor’s Name
                                                           residence
      PO Box 37628
      ______________________________________
      Number            Street

                                                               As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                                   Contingent
      Philadelphia          PA 19101
      ______________________________________                       Unliquidated
      City                           State   ZIP Code              Disputed
   Who owes the debt? Check one.                               Nature of lien. Check all that apply.
          Debtor 1 only                                       
                                                               X    An agreement you made (such as mortgage or secured
   
   X       Debtor 2 only                                            car loan)
          Debtor 1 and Debtor 2 only                              Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another                 Judgment lien from a lawsuit
                                                                   Other (including a right to offset) ____________________
     Check if this claim relates to a
      community debt
                            1/2011
   Date debt was incurred ____________                                                          5 ___
                                                               Last 4 digits of account number ___ 8 ___
                                                                                                      3 ___
                                                                                                         8
      Add the dollar value of your entries in Column A on this page. Write that number here:                                    260,484.19
                                                                                                                               $_________________


  Official Form 106D                              Schedule D: Creditors Who Have Claims Secured by Property                                                                  3
                                                                                                                                                                  page 1 of ___
                 Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                                                 Page:19 of 74
Debtor 1             Bruce G Alford Jr
                     _______________________________________________________                                     Case number (if known)_____________________________________
                     First Name      Middle Name          Last Name




                   Additional Page                                                                                          Column A               Column B              Column C
 Part 1:                                                                                                                    Amount of claim        Value of collateral   Unsecured
                   After listing any entries on this page, number them beginning with 2.3, followed                                                that supports this    portion
                                                                                                                            Do not deduct the
                   by 2.4, and so forth.                                                                                    value of collateral.   claim                 If any
2.3                                                                                                                          7,731.09            8,000.00          0.00
          Sheffield Financial
          ______________________________________           Describe the property that secures the claim:                    $_________________ $________________ $____________
          Creditor’s Name

          PO box 580229
          ______________________________________          2014 Gravely Mowers
          Number            Street

          ______________________________________           As of the date you file, the claim is: Check all that apply.
          Charlotte             NC 28258
          ______________________________________                Contingent
          City                   State ZIP Code                 Unliquidated
                                                                Disputed
      Who owes the debt? Check one.                        Nature of lien. Check all that apply.
           Debtor 1 only                                   X   An agreement you made (such as mortgage or secured
           Debtor 2 only                                        car loan)
      
      X
            Debtor 1 and Debtor 2 only                          Statutory lien (such as tax lien, mechanic’s lien)
           At least one of the debtors and another             Judgment lien from a lawsuit
                                                                Other (including a right to offset) ____________________
           Check if this claim relates to a
            community debt

                             4/2013
      Date debt was incurred ____________                                                   9 ___
                                                           Last 4 digits of account number ___ 7 ___
                                                                                                  8 ___
                                                                                                     2
2.4                                                        Describe the property that secures the claim:                      23,154.00
                                                                                                                            $_________________   21,075.00
                                                                                                                                               $________________   0.00
                                                                                                                                                                 $____________
           Suntrust Bank
          ______________________________________
          Creditor’s Name

           PO Box 305053
          ______________________________________
                                                          2014 Ford F250
          Number            Street

                                                           As of the date you file, the claim is: Check all that apply.
          ______________________________________
                                                                Contingent
           Nashville            TN 37230
          ______________________________________                Unliquidated
          City                         State   ZIP Code
                                                                Disputed
      Who owes the debt? Check one.
                                                           Nature of lien. Check all that apply.
           Debtor 1 only
                                                           X
                                                                 An agreement you made (such as mortgage or secured
      
      X
            Debtor 2 only                                        car loan)
           Debtor 1 and Debtor 2 only                          Statutory lien (such as tax lien, mechanic’s lien)
           At least one of the debtors and another             Judgment lien from a lawsuit

           Check if this claim relates to a
                                                                Other (including a right to offset) ____________________
            community debt

                             2014
      Date debt was incurred ____________                                                   1 ___
                                                           Last 4 digits of account number ___ 1 ___
                                                                                                  4 ___
                                                                                                     7
2.5                                                                                                                           15,278.00          1,000.00          14,278.00
          Wells Fargo Vendor Fin Srv
          ______________________________________           Describe the property that secures the claim:                    $_________________ $________________ $____________
          Creditor’s Name

          PO box 105743
          ______________________________________
                                                          2015 Bobcat
          Number            Street

          ______________________________________           As of the date you file, the claim is: Check all that apply.
          Atlanta               GA 30348
          ______________________________________                Contingent
          City                         State   ZIP Code         Unliquidated
                                                           
                                                           X
                                                                 Disputed
      Who owes the debt? Check one.                        Nature of lien. Check all that apply.
           Debtor 1 only                                   X
                                                                 An agreement you made (such as mortgage or secured
      
      X
            Debtor 2 only                                        car loan)
           Debtor 1 and Debtor 2 only                          Statutory lien (such as tax lien, mechanic’s lien)
           At least one of the debtors and another             Judgment lien from a lawsuit
                                                                Other (including a right to offset) ____________________
           Check if this claim relates to a
            community debt
      Date debt was incurred ____________                                                   9 ___
                                                           Last 4 digits of account number ___ 2 ___
                                                                                                  3 ___
                                                                                                     5
                 Add the dollar value of your entries in Column A on this page. Write that number here: $_________________
                                                                                                         46,163.09
                 If this is the last page of your form, add the dollar value totals from all pages.
                 Write that number here:                                                                                     306,647.28
                                                                                                                            $_________________

  Official Form 106D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page ___   3
                                                                                                                                                                     2 of ___
           Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                                    Page:20 of 74
Debtor 1      Bruce G Alford Jr
              _______________________________________________________                           Case number (if known)_____________________________________
              First Name     Middle Name        Last Name


  Part 2:      List Others to Be Notified for a Debt That You Already Listed

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

                                                                                                                                                2.1
                                                                                           On which line in Part 1 did you enter the creditor? _____
      Slatzer Swergold Leving et al
      _____________________________________________________________________
      Name                                                                                                                  8 ___
                                                                                           Last 4 digits of account number ___ 9 ___
                                                                                                                                  7 ___
                                                                                                                                     4
      475 Park Avenue
      _____________________________________________________________________
      Number     Street

      18th Floor
      _____________________________________________________________________

      New York                             NY             10016
      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code



  Official Form 106D                       Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                               page ___   3
                                                                                                                                                   3 of ___
 Fill in Case:18-11560-SDB
         this information to identify yourDoc#:1
                                          case:                     Filed:11/01/18 Entered:11/01/18 16:45:06                                   Page:21 of 74

 Debtor 1              Bruce G Alford Jr
                      __________________________________________________________________
                       First Name                    Middle Name              Last Name

 Debtor 2               Heather S Alford
                       ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name              Last Name


                                         District of Georgia Southern
 United States Bankruptcy Court for the: ______________________________________
                                                                                                                                                      Check if this is an
 Case number           ___________________________________________
  (If known)                                                                                                                                            amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 Part 1:             List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
         No. Go to Part 2.
        
        X
          Yes.
      2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
        each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
        nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
        unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                      Total claim    Priority     Nonpriority
                                                                                                                                                     amount       amount
2.1
         GA Dept of Revenue
         ____________________________________________                                                  8 ___
                                                                      Last 4 digits of account number ___ 9 ___
                                                                                                             7 ___
                                                                                                                4                   3,087.00
                                                                                                                                  $_____________  3,087.00
                                                                                                                                                 $___________   0.00
                                                                                                                                                              $____________
         Priority Creditor’s Name

         1800 Century Blvd NE, Ste 9100
         ____________________________________________                 When was the debt incurred?           ____________
         Number             Street
         ____________________________________________
                                                                      As of the date you file, the claim is: Check all that apply.
         Atlanta           GA              30345
         ____________________________________________                     Contingent
         City                                State      ZIP Code
                                                                          Unliquidated
         Who incurred the debt? Check one.
                                                                          Disputed
               Debtor 1 only
               Debtor 2 only                                         Type of PRIORITY unsecured claim:
         X
                Debtor 1 and Debtor 2 only
                                                                          Domestic support obligations
               At least one of the debtors and another
                                                                      X
                                                                           Taxes and certain other debts you owe the government
               Check if this claim is for a community debt               Claims for death or personal injury while you were
         Is the claim subject to offset?                                   intoxicated
         X
                No                                                        Other. Specify _________________________________
               Yes
2.2      Internal Revenue Service
         ____________________________________________                                                  8 ___
                                                                      Last 4 digits of account number ___ 9 ___
                                                                                                             7 ___
                                                                                                                4                      1,992.00
                                                                                                                                     $_____________  1,992.00
                                                                                                                                                    $___________   0.00
                                                                                                                                                                 $____________
         Priority Creditor’s Name
                                                                      When was the debt incurred?           ____________
         PO Box 7346
         ____________________________________________
         Number             Street
         ____________________________________________                 As of the date you file, the claim is: Check all that apply.

          Philadelphia PA                  19101
         ____________________________________________
                                                                          Contingent
         City                                State      ZIP Code          Unliquidated
         Who incurred the debt? Check one.                                Disputed
               Debtor 1 only
                                                                      Type of PRIORITY unsecured claim:
               Debtor 2 only
                                                                          Domestic support obligations
         X
                Debtor 1 and Debtor 2 only
               At least one of the debtors and another
                                                                      X   Taxes and certain other debts you owe the government
                                                                          Claims for death or personal injury while you were
               Check if this claim is for a community debt                intoxicated
         Is the claim subject to offset?                                  Other. Specify _________________________________
         X     No
               Yes


Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     11
                                                                                                                                                          page 1 of ___
Debtor 1             Bruce G Alford Jr
                     _______________________________________________________                          Case number (if known)_____________________________________
           Case:18-11560-SDB
              First Name Middle Name Doc#:1
                                       Last Name Filed:11/01/18 Entered:11/01/18 16:45:06                                               Page:22 of 74
  Part 2:           List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      X
        Yes

  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      priority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than four priority unsecured claims
      fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
4.1
       AU Health
       _____________________________________________________________                                                5 ___
                                                                                   Last 4 digits of account number ___ 2 ___
                                                                                                                          7 ___
                                                                                                                             2
       Nonpriority Creditor’s Name                                                                                                                         100.00
                                                                                                                                                          $__________________
                                                                                  When was the debt incurred?           ____________
       PO Box 2306
       _____________________________________________________________
       Number            Street

       Augusta                  GA               30903
       _____________________________________________________________
       City                                              State    ZIP Code        As of the date you file, the claim is: Check all that apply.

                                                                                     Contingent
       Who incurred the debt? Check one.                                             Unliquidated
              Debtor 1 only                                                         Disputed
              Debtor 2 only
              Debtor 1 and Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                               Student loans

              Check if this claim is for a community debt                           Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
       Is the claim subject to offset?                                               Debts to pension or profit-sharing plans, and other similar debts
       
       X
               No                                                                 
                                                                                  X                  Medical Services
                                                                                      Other. Specify ______________________________________
              Yes

4.2
       Capital One                                                                                                 2 ___
                                                                                  Last 4 digits of account number ___ 5 ___
                                                                                                                         0 ___
                                                                                                                            8                               371.60
                                                                                                                                                          $__________________
       _____________________________________________________________
       Nonpriority Creditor’s Name                                                When was the debt incurred?           ____________
       PO Box 30285
       _____________________________________________________________
       Number            Street
                                                                                  As of the date you file, the claim is: Check all that apply.
        SLC                   UT                  84130
       _____________________________________________________________
       City                                              State    ZIP Code
                                                                                     Contingent
       Who incurred the debt? Check one.                                             Unliquidated

              Debtor 1 only
                                                                                     Disputed

              Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only
              At least one of the debtors and another                               Student loans
                                                                                     Obligations arising out of a separation agreement or divorce
              Check if this claim is for a community debt                            that you did not report as priority claims
       Is the claim subject to offset?                                               Debts to pension or profit-sharing plans, and other similar debts

          X   No                                                                 
                                                                                  X                  Credit Card Charges
                                                                                      Other. Specify ______________________________________

              Yes

4.3
       Capital One
       _____________________________________________________________                                               8 ___
                                                                                  Last 4 digits of account number ___ 1 ___
                                                                                                                         4 ___
                                                                                                                            3                               626.84
       Nonpriority Creditor’s Name                                                                                                                        $_________________
                                                                                  When was the debt incurred?           ____________
       PO Box 30285
       _____________________________________________________________
       Number            Street

       SLC                      UT               84130
       _____________________________________________________________              As of the date you file, the claim is: Check all that apply.
       City                                              State    ZIP Code

                                                                                     Contingent
       Who incurred the debt? Check one.
                                                                                     Unliquidated
              Debtor 1 only
                                                                                     Disputed
              Debtor 2 only
              Debtor 1 and Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
                                                                                     Student loans
              Check if this claim is for a community debt                           Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
       Is the claim subject to offset?
                                                                                     Debts to pension or profit-sharing plans, and other similar debts
       
       X
               No
                                                                                  
                                                                                  X                  Credit Card Charges
                                                                                      Other. Specify ______________________________________
              Yes




  Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                   page2__ of ___
                                                                                                                                                                          11
Debtor 1           Bruce G Alford Jr
                   _______________________________________________________                            Case number (if known)_____________________________________
           Case:18-11560-SDB
              First Name Middle Name Doc#:1
                                       Last Name Filed:11/01/18 Entered:11/01/18 16:45:06                                               Page:23 of 74
 Part 2:          Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                     Total claim


4.4                                                                                                                 4 ___
                                                                                   Last 4 digits of account number ___ 4 ___
                                                                                                                          7 ___
                                                                                                                             4
      Capital One
      _____________________________________________________________                                                                                          7,644.00
                                                                                                                                                           $____________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?            1998
                                                                                                                         ____________
      PO Box 30285
      _____________________________________________________________
      Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      SLC                      UT               84130
      _____________________________________________________________
      City                                             State     ZIP Code             Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
            Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Credit Card Charges
                                                                                       Other. Specify________________________________
      
      X
             No
            Yes



4.5
      Chase                                                                                                         8 ___
                                                                                   Last 4 digits of account number ___ 8 ___
                                                                                                                          9 ___
                                                                                                                             4                               19,125.00
                                                                                                                                                           $____________
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?           2006
                                                                                                                         ____________
      PO Box 15298
      _____________________________________________________________
      Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Wilmington                      DE        19850
      _____________________________________________________________
      City                                             State     ZIP Code             Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
            Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Credit Card Charges
                                                                                       Other. Specify________________________________
      
      X      No
            Yes


4.6                                                                                                                                                          0.00
                                                                                                                                                           $____________
      CNH Industrial                                                                                                6 ___
                                                                                   Last 4 digits of account number ___ 0 ___
                                                                                                                          0 ___
                                                                                                                             1
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?           ____________
      PO box 71264
      _____________________________________________________________
      Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Philadelphia                    PA        19176
      _____________________________________________________________
      City                                             State     ZIP Code             Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
            Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
      X     At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  deficiency
                                                                                       Other. Specify________________________________
      
      X      No
            Yes




  Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                               page 3__ of ___
                                                                                                                                                                       11
Debtor 1           Bruce G Alford Jr
                   _______________________________________________________                            Case number (if known)_____________________________________
           Case:18-11560-SDB
              First Name Middle Name Doc#:1
                                       Last Name Filed:11/01/18 Entered:11/01/18 16:45:06                                               Page:24 of 74
 Part 2:          Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                     Total claim


4.7                                                                                                                 6 ___
                                                                                   Last 4 digits of account number ___ 6 ___
                                                                                                                          9 ___
                                                                                                                             3
      Faiway Lawns
      _____________________________________________________________                                                                                          51.00
                                                                                                                                                           $____________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?           ____________
      PO box 55900
      _____________________________________________________________
      Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Little Rock              AR               72215
      _____________________________________________________________
      City                                             State     ZIP Code             Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
            Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  collections
                                                                                       Other. Specify________________________________
      
      X
             No
            Yes



4.8
      Fidelity Bank                                                                                                 1 ___
                                                                                   Last 4 digits of account number ___ 0 ___
                                                                                                                          5 ___
                                                                                                                             7                               1.00
                                                                                                                                                           $____________
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?           2014
                                                                                                                         ____________
      PO Box 105075
      _____________________________________________________________
      Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Atlanta                         Ga        30348
      _____________________________________________________________
      City                                             State     ZIP Code             Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
            Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
      X     Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  deficiency
                                                                                       Other. Specify________________________________
      
      X      No
            Yes


4.9                                                                                                                                                          0.00
                                                                                                                                                           $____________
      Ford Motor Credit                                                                                             8 ___
                                                                                   Last 4 digits of account number ___ 3 ___
                                                                                                                          7 ___
                                                                                                                             3
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?            2015
                                                                                                                         ____________
      PO Box 689007
      _____________________________________________________________
      Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Franklin                        TN        37068
      _____________________________________________________________
      City                                             State     ZIP Code             Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                            
                                                                                   X
                                                                                       Disputed
            Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  deficiency
                                                                                       Other. Specify________________________________
      
      X      No
            Yes




  Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                               page 4__ of ___
                                                                                                                                                                       11
Debtor 1            Bruce G Alford Jr
                    _______________________________________________________                            Case number (if known)_____________________________________
            Case:18-11560-SDB
               First Name Middle Name Doc#:1
                                        Last Name Filed:11/01/18 Entered:11/01/18 16:45:06                                               Page:25 of 74
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                      Total claim


4.10                                                                                                                 0 ___
                                                                                    Last 4 digits of account number ___ 6 ___
                                                                                                                           7 ___
                                                                                                                              0
       Independence Bank
       _____________________________________________________________                                                                                          142,000.00
                                                                                                                                                            $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?           ____________
       1370 South County Trail
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       East Greenwich           RI               02818
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       X
              At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                  Personal Loan
                                                                                        Other. Specify________________________________
       
       X
              No
             Yes



4.11
       Kohls                                                                                                         7 ___
                                                                                    Last 4 digits of account number ___ 3 ___
                                                                                                                           7 ___
                                                                                                                              2                               296.59
                                                                                                                                                            $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?           ____________
       PO Box 2983
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
        Milwaukee                       WI        53201
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                  Credit Card Charges
                                                                                        Other. Specify________________________________
       
       X      No
             Yes


4.12                                                                                                                                                          0.00
                                                                                                                                                            $____________
       Linda S Beazley                                                                                               8 ___
                                                                                    Last 4 digits of account number ___ 9 ___
                                                                                                                           7 ___
                                                                                                                              4
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?           ____________
       2008 McDowell Street
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Augusta                         GA        30904
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X
                                                                                        Disputed
       X     Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                  collections
                                                                                        Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                               page 5__ of ___
                                                                                                                                                                        11
Debtor 1            Bruce G Alford Jr
                    _______________________________________________________                            Case number (if known)_____________________________________
            Case:18-11560-SDB
               First Name Middle Name Doc#:1
                                        Last Name Filed:11/01/18 Entered:11/01/18 16:45:06                                               Page:26 of 74
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                      Total claim


4.13                                                                                                                 8 ___
                                                                                    Last 4 digits of account number ___ 9 ___
                                                                                                                           7 ___
                                                                                                                              4
       Paulette & Vincent Ingallinera
       _____________________________________________________________                                                                                          0.00
                                                                                                                                                            $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?           ____________
       See Attachment 1
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Martinez                 GA               30907
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       X
              At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                  collections
                                                                                        Other. Specify________________________________
       
       X
              No
             Yes



4.14
       Pilcher-Hardy Rentals                                                                                         8 ___
                                                                                    Last 4 digits of account number ___ 9 ___
                                                                                                                           7 ___
                                                                                                                              4                               0.00
                                                                                                                                                            $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?           ____________
       c/o John P Manton III 429 Walker Street, Upper Level
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
        Augusta                         GA        30901
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       X
              At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                  collections
                                                                                        Other. Specify________________________________
       
       X      No
             Yes


4.15                                                                                                                                                          1,160.00
                                                                                                                                                            $____________
       Quick Lane/Citibank                                                                                           3 ___
                                                                                    Last 4 digits of account number ___ 2 ___
                                                                                                                           9 ___
                                                                                                                              2
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?            2013
                                                                                                                          ____________
       PO Box 6497
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Sioux Falls                     SD        57117
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                  Credit Card Charges
                                                                                        Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                               page 6__ of ___
                                                                                                                                                                        11
Debtor 1            Bruce G Alford Jr
                    _______________________________________________________                            Case number (if known)_____________________________________
           Case:18-11560-SDB
              First Name Middle Name Doc#:1
                                       Last Name Filed:11/01/18 Entered:11/01/18 16:45:06                                                Page:27 of 74
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                      Total claim


4.16                                                                                                                 8 ___
                                                                                    Last 4 digits of account number ___ 9 ___
                                                                                                                           7 ___
                                                                                                                              4
       Reliant Funding
       _____________________________________________________________                                                                                          78,837.50
                                                                                                                                                            $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?           ____________
       c/o The Aubrey Law Firm 12 Powder Springs Street, Ste 240
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Marietta                 GA               30064
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                  Personal Loan
                                                                                        Other. Specify________________________________
       
       X
              No
             Yes



4.17
       Sears                                                                                                         9 ___
                                                                                    Last 4 digits of account number ___ 7 ___
                                                                                                                           8 ___
                                                                                                                              8                               6,063.36
                                                                                                                                                            $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?           ____________
       PO Box 6282
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
        Sioux Falls                     SD        57117
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                  Credit Card Charges
                                                                                        Other. Specify________________________________
       
       X      No
             Yes


4.18                                                                                                                                                          6,249.80
                                                                                                                                                            $____________
       Square Recovery                                                                                               4 ___
                                                                                    Last 4 digits of account number ___ E ___
                                                                                                                           D ___
                                                                                                                              F
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?           ____________
       1455 Market Street
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       San Francisco                   CA        94103
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                  collections
                                                                                        Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                               page 7__ of ___
                                                                                                                                                                        11
Debtor 1            Bruce G Alford Jr
                    _______________________________________________________                            Case number (if known)_____________________________________
            Case:18-11560-SDB
               First Name Middle Name Doc#:1
                                        Last Name Filed:11/01/18 Entered:11/01/18 16:45:06                                               Page:28 of 74
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                      Total claim


4.19                                                                                                                 0 ___
                                                                                    Last 4 digits of account number ___ 0 ___
                                                                                                                           0 ___
                                                                                                                              1
       SRP FCU
       _____________________________________________________________                                                                                          0.00
                                                                                                                                                            $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?           ____________
       PO Box 6730
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       N Augusta                SC               29861
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                  deficiency
                                                                                        Other. Specify________________________________
       
       X
              No
             Yes



4.20
       Syncb/Belks                                                                                                   6 ___
                                                                                    Last 4 digits of account number ___ 5 ___
                                                                                                                           9 ___
                                                                                                                              9                               1,223.00
                                                                                                                                                            $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?           2008
                                                                                                                          ____________
       PO box 965028
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
        Orlando                         FL        32896
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                  Credit Card Charges
                                                                                        Other. Specify________________________________
       
       X      No
             Yes


4.21                                                                                                                                                          0.00
                                                                                                                                                            $____________
       Thomas Concrete of SC, Inc                                                                                    8 ___
                                                                                    Last 4 digits of account number ___ 9 ___
                                                                                                                           7 ___
                                                                                                                              4
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?           ____________
       c/o William Kidd 3883 Rogers Bridge Road, Ste 100
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Duluth                          GA        30097
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X
                                                                                        Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       X     At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                  collections
                                                                                        Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                               page 8__ of ___
                                                                                                                                                                        11
Debtor 1            Bruce G Alford Jr
                    _______________________________________________________                            Case number (if known)_____________________________________
           Case:18-11560-SDB
              First Name Middle Name Doc#:1
                                       Last Name Filed:11/01/18 Entered:11/01/18 16:45:06                                                Page:29 of 74
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                      Total claim


4.22                                                                                                                 4 ___
                                                                                    Last 4 digits of account number ___ 0 ___
                                                                                                                           9 ___
                                                                                                                              2
       US Bank
       _____________________________________________________________                                                                                          0.00
                                                                                                                                                            $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?            2015
                                                                                                                          ____________
       PO Box 2407
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Minneapolis              MN               55402
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                  deficiency
                                                                                        Other. Specify________________________________
       
       X
              No
             Yes



4.23
       Wells Fargo Vendor Fin SE                                                                                     7 ___
                                                                                    Last 4 digits of account number ___ 0 ___
                                                                                                                           2 ___
                                                                                                                              2                               2,059.23
                                                                                                                                                            $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?           ____________
       PO box 3072
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
        Cedar Rapids                    IA        52406
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                  collections
                                                                                        Other. Specify________________________________
       
       X      No
             Yes


4.24                                                                                                                                                        $____________
                                                                                    Last 4 digits of account number ___ ___ ___ ___
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?           ____________
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
             No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                               page 9__ of ___
                                                                                                                                                                        11
Debtor 1       Bruce G Alford Jr
               _______________________________________________________                         Case number (if known)_____________________________________
           Case:18-11560-SDB
              First Name Middle Name Doc#:1
                                       Last Name Filed:11/01/18 Entered:11/01/18 16:45:06                                      Page:30 of 74
Part 3:       List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

     American Profit Recovery
     _____________________________________________________             On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     34505 W 12 Mile Road
     _____________________________________________________
                                                                            4.7 of (Check one):
                                                                       Line _____                      Part 1: Creditors with Priority Unsecured Claims
     Number       Street                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                      X


     Ste 333
     _____________________________________________________
                                                                                                        6 ___
                                                                       Last 4 digits of account number ___ 6 ___
                                                                                                              9 ___
                                                                                                                 3
     Farmington Hills, MI 48331
     _____________________________________________________
     City                                  State        ZIP Code


     US Small Bus Admin
     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     233 Peachtree Street NE
     _____________________________________________________
                                                                             4.10 of (Check one):
                                                                        Line _____                     Part 1: Creditors with Priority Unsecured Claims
     Number       Street
                                                                                                      
                                                                                                      X
                                                                                                        Part 2: Creditors with Nonpriority Unsecured
     Ste 300
     _____________________________________________________              Claims

     Atlantic, GA 30303
     _____________________________________________________                                               0 ___
                                                                        Last 4 digits of account number ___ 6 ___
                                                                                                               7 ___
                                                                                                                  0
     City                                  State        ZIP Code


     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                        Line _____ of (Check one):     Part 1: Creditors with Priority Unsecured Claims
     Number       Street                                                                               Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                        Claims

     _____________________________________________________              Last 4 digits of account number ___ ___ ___ ___
     City                                  State        ZIP Code


     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                        Line _____ of (Check one):     Part 1: Creditors with Priority Unsecured Claims
     Number       Street                                                                               Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                        Claims

     _____________________________________________________              Last 4 digits of account number ___ ___ ___ ___
     City                                  State        ZIP Code


     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                        Line _____ of (Check one):     Part 1: Creditors with Priority Unsecured Claims
     Number       Street                                                                               Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                        Claims

     _____________________________________________________              Last 4 digits of account number ___ ___ ___ ___
     City                                  State        ZIP Code


     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                        Line _____ of (Check one):     Part 1: Creditors with Priority Unsecured Claims
     Number       Street                                                                               Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                        Claims

     _____________________________________________________              Last 4 digits of account number ___ ___ ___ ___
     City                                  State        ZIP Code


     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________              Line _____ of (Check one):     Part 1: Creditors with Priority Unsecured Claims
     Number       Street
                                                                                                       Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________              Claims

     _____________________________________________________
     City                                  State        ZIP Code
                                                                        Last 4 digits of account number ___ ___ ___ ___


  Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                              page10
                                                                                                                                                      __ of 11
                                                                                                                                                            ___
Debtor 1       Bruce G Alford Jr
               _______________________________________________________                      Case number (if known)_____________________________________
           Case:18-11560-SDB
              First Name Middle Name Doc#:1
                                       Last Name Filed:11/01/18 Entered:11/01/18 16:45:06                                 Page:31 of 74
Part 4:      Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159.
    Add the amounts for each type of unsecured claim.




                                                                                       Total claim


                6a. Domestic support obligations                               6a.      0.00
Total claims                                                                           $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                 6b.      5,079.00
                                                                                       $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                6c.      0.00
                                                                                       $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                    6d.
                                                                                     + $_________________________
                                                                                        0.00


                6e. Total. Add lines 6a through 6d.                            6e.
                                                                                        5,079.00
                                                                                       $_________________________



                                                                                       Total claim

                6f. Student loans                                              6f.
Total claims                                                                             0.00
                                                                                        $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                     6g.       0.00
                                                                                        $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                              6h.      0.00
                                                                                       $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                    6i.   + $_________________________
                                                                                        265,808.92


                6j. Total. Add lines 6f through 6i.                            6j.
                                                                                         265,808.92
                                                                                        $_________________________




  Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                      page11
                                                                                                                                                 __ of ___
                                                                                                                                                       11
Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06       Page:32 of 74



                                   Attachment
                      Debtor: Bruce G Alford Jr              Case No:

 Attachment 1
          c/o Andrew A Murdison 339 Fury's Ferry Rd, Ste 3
          Box 115
          Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                                      Page:33 of 74

 Fill in this information to identify your case:

 Debtor               Bruce G Alford Jr
                      __________________________________________________________________
                       First Name             Middle Name            Last Name

 Debtor 2              Heather S Alford
                       ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name            Last Name


                                        District of Georgia Southern
 United States Bankruptcy Court for the:______________________________________

 Case number           ___________________________________________
  (If known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
      
      X    Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.

      Person or company with whom you have the contract or lease                               State what the contract or lease is for

2.1                                                                                       reject lease
      Pilcher-Hardy Rentals
      _____________________________________________________________________
      Name
      2507 Wellington Drive
      _____________________________________________________________________
      Number     Street
      Augusta                      GA       30909
      _____________________________________________________________________
      City                         State   ZIP Code

2.2                                                                                        reject lease
       Watson & Knox Real Estate
      _____________________________________________________________________
      Name
       PO Box 539
      _____________________________________________________________________
      Number     Street
       Thomson                     GA       30824
      _____________________________________________________________________
      City                         State   ZIP Code

2.3                                                                                        assume storage rental
       Gateway Storage
      _____________________________________________________________________
      Name
       475 Lewiston Road
      _____________________________________________________________________
      Number      Street
       Grovetown                   GA       30813
      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code



Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                                      1
                                                                                                                                              page 1 of ___
         Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                                        Page:34 of 74
 Fill in this information to identify your case:

 Debtor 1          Bruce G Alford Jr
                   __________________________________________________________________
                      First Name                    Middle Name                 Last Name

 Debtor 2             Heather S Alford
                      ________________________________________________________________
 (Spouse, if filing) First Name                     Middle Name                 Last Name


                                        District of Georgia Southern
 United States Bankruptcy Court for the:_______________________________________

 Case number          ____________________________________________
  (If known)
                                                                                                                                             Check if this is an
                                                                                                                                               amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                               12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
          No
      
      X
           Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      
      X
           No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                No
                Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                 ______________________________________________________________________
                 Name of your spouse, former spouse, or legal equivalent

                 ______________________________________________________________________
                 Number              Street

                 ______________________________________________________________________
                 City                                             State                     ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                            Column 2: The creditor to whom you owe the debt

                                                                                                          Check all schedules that apply:
3.1
         Georgia-Lina Pools & Landscaping
         ________________________________________________________________________________                  Schedule D, line ______
                                                                                                           X                 2.1
         Name

         515 Sweet Meadow Drive
         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number             Street                                                                         Schedule G, line ______
         Grovetown                                 GA                      30813
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.2
          Georgia-Lina Lanscaping & Pools
         ________________________________________________________________________________                  Schedule D, line ______
         Name

          515 Sweet Meadow Drive
         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
                                                                                                           X                   4.21,
         Number             Street                                                                         Schedule G, line ______
          Grovetown                                GA                      30813
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.3
          Georgia-Lina Pools & Landscaping
         ________________________________________________________________________________                  Schedule D, line ______
         Name

          515 Sweet Meadow Drive
         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
                                                                                                           X                   4.13,
         Number             Street                                                                         Schedule G, line ______
          Grovetown                                GA                      30813
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

Official Form 106H                                                           Schedule H: Your Codebtors                                                     2
                                                                                                                                                 page 1 of ___
           Case:18-11560-SDB
              Bruce G Alford Jr
                                Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                         Page:35 of 74
Debtor 1         _______________________________________________________                 Case number (if known)_____________________________________
                 First Name     Middle Name    Last Name




                 Additional Page to List More Codebtors

       Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt

                                                                                               Check all schedules that apply:
3.4
        CSRA Lawn & Sprinkler
        ________________________________________________________________________________        Schedule D, line ______
        Name
                                                                                               Schedule E/F, line ______
                                                                                                X
                                                                                                                     4.14,
        515 Sweet Meadow Drive
        ________________________________________________________________________________
        Number         Street                                                                   Schedule G, line ______
        Grovetown                                 GA                      30813
        ________________________________________________________________________________
        City                                        State                   ZIP Code
3.5
         Georgia-Lina Pools & Landscaping
        ________________________________________________________________________________        Schedule D, line ______
        Name
                                                                                               Schedule E/F, line ______
         515 Sweet Meadow Drive
        ________________________________________________________________________________
        Number         Street                                                                   Schedule G, line ______
                                                                                                X                  2.2,

         Grovetown                                GA                      30813
        ________________________________________________________________________________
        City                                        State                   ZIP Code
3.6
         CSRA Lawn & Sprinkler
        ________________________________________________________________________________        Schedule D, line ______
        Name
                                                                                               Schedule E/F, line ______
                                                                                                X                    4.6,
         515 Sweet Meadow Drive
        ________________________________________________________________________________
        Number         Street                                                                   Schedule G, line ______
         Grovetown                                GA                      30813
        ________________________________________________________________________________
        City                                        State                   ZIP Code
3.7
         Georgia-Lina Pools & Landscaping
        ________________________________________________________________________________        Schedule D, line ______
        Name
                                                                                               Schedule E/F, line ______
                                                                                                X                   4.10,
         515 Sweet Meadow Drive
        ________________________________________________________________________________
        Number         Street                                                                   Schedule G, line ______
         Grovetown                                GA                      30813
        ________________________________________________________________________________
        City                                        State                   ZIP Code

3.8
        ________________________________________________________________________________        Schedule D, line ______
        Name
                                                                                               Schedule E/F, line ______
        ________________________________________________________________________________
        Number         Street                                                                   Schedule G, line ______

        ________________________________________________________________________________
        City                                        State                   ZIP Code
3.9
        ________________________________________________________________________________        Schedule D, line ______
        Name
                                                                                               Schedule E/F, line ______
        ________________________________________________________________________________
        Number         Street                                                                   Schedule G, line ______

        ________________________________________________________________________________
        City                                        State                   ZIP Code
3.10
        ________________________________________________________________________________        Schedule D, line ______
        Name
                                                                                               Schedule E/F, line ______
        ________________________________________________________________________________
        Number         Street                                                                   Schedule G, line ______

        ________________________________________________________________________________
        City                                        State                   ZIP Code
3.11
        ________________________________________________________________________________        Schedule D, line ______
        Name
                                                                                               Schedule E/F, line ______
        ________________________________________________________________________________
        Number         Street                                                                   Schedule G, line ______

        ________________________________________________________________________________
        City                                        State                   ZIP Code




 Official Form 106H                                         Schedule H: Your Codebtors                                                    2 of ___
                                                                                                                                    page ___    2
         Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                                    Page:36 of 74
 Fill in this information to identify your case:


 Debtor 1            Bruce G Alford Jr
                    ____________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2             Heather S Alford
                     ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


                                          District of Georgia Southern
 United States Bankruptcy Court for the: ___________________________________________

 Case number         ___________________________________________                                   Check if this is:
  (If known)
                                                                                                    An amended filing
                                                                                                    A supplement showing post-petition
                                                                                                       chapter 13 income as of the following date:
                                                                                                       ________________
Official Form 106I                                                                                     MM / DD / YYYY

Schedule I: Your Income                                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:           Describe Employment


 1. Fill in your employment
     information.                                                         Debtor 1                                     Debtor 2 or non-filing spouse

     If you have more than one job,
     attach a separate page with
     information about additional         Employment status            
                                                                       X Employed                                     X   Employed
     employers.                                                         Not employed                                 FillNot
                                                                                                                            outemployed
                                                                                                                               this information:
     Include part-time, seasonal, or
     self-employed work.
                                          Occupation                  landclearing
                                                                      __________________________________          1099 employee
                                                                                                                  __________________________________
     Occupation may Include student
     or homemaker, if it applies.
                                          Employer’s name            BEC Custom Homes
                                                                     __________________________________           cleaning
                                                                                                                  __________________________________


                                          Employer’s address       ________________________________________     ________________________________________
                                                                     Number Street                               Number    Street

                                                                   ________________________________________     ________________________________________

                                                                   ________________________________________     ________________________________________

                                                                   ________________________________________     ________________________________________
                                                                     City            State  ZIP Code              City                State ZIP Code

                                          How long employed there?         _______
                                                                           started 9/24/18                         _______
                                                                                                                   just started 10/15/2018


  Part 2:           Give Details About Monthly Income

     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
     spouse unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
     below. If you need more space, attach a separate sheet to this form.

                                                                                               For Debtor 1        For Debtor 2 or
                                                                                                                   non-filing spouse
  2. List monthly gross wages, salary, and commissions (before all payroll
       deductions). If not paid monthly, calculate what the monthly wage would be.      2.      4,841.63                 1,299.00
                                                                                              $___________             $____________

  3. Estimate and list monthly overtime pay.                                            3.   + $___________
                                                                                                 0.00             +      0.00
                                                                                                                       $____________


  4. Calculate gross income. Add line 2 + line 3.                                       4.     4,841.63
                                                                                              $__________                1,299.00
                                                                                                                       $____________




Official Form 106I                                             Schedule I: Your Income                                                             page 1
               Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                                                              Page:37 of 74
    Debtor 1          Bruce G Alford Jr
                      _______________________________________________________                                                   Case number (if known)_____________________________________
                      First Name        Middle Name               Last Name



                                                                                                                               For Debtor 1         For Debtor 2 or
                                                                                                                                                    non-filing spouse

         Copy line 4 here ............................................................................................  4.       4,841.63
                                                                                                                                $___________              1,299.00
                                                                                                                                                        $_____________

      5. List all payroll deductions:

          5a. Tax, Medicare, and Social Security deductions                                                            5a.       1,028.55
                                                                                                                               $____________              0.00
                                                                                                                                                        $_____________
          5b. Mandatory contributions for retirement plans                                                             5b.      0.00
                                                                                                                               $____________              0.00
                                                                                                                                                        $_____________
          5c. Voluntary contributions for retirement plans                                                             5c.      0.00
                                                                                                                               $____________              0.00
                                                                                                                                                        $_____________
          5d. Required repayments of retirement fund loans                                                             5d.      0.00
                                                                                                                               $____________              0.00
                                                                                                                                                        $_____________
          5e. Insurance                                                                                                5e.      0.00
                                                                                                                               $____________              0.00
                                                                                                                                                        $_____________
          5f. Domestic support obligations                                                                             5f.      0.00
                                                                                                                               $____________              0.00
                                                                                                                                                        $_____________

          5g. Union dues                                                                                               5g.      0.00
                                                                                                                               $____________              0.00
                                                                                                                                                        $_____________

          5h. Other deductions. Specify: __________________________________                                            5h.    + $____________
                                                                                                                                  0.00              +    0.00
                                                                                                                                                        $_____________

      6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                    6.       1,028.55
                                                                                                                               $____________              0.00
                                                                                                                                                        $_____________

      7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.       3,813.08
                                                                                                                               $____________              1,299.00
                                                                                                                                                        $_____________


      8. List all other income regularly received:

          8a. Net income from rental property and from operating a business,
              profession, or farm
                Attach a statement for each property and business showing gross
                receipts, ordinary and necessary business expenses, and the total                                                0.00                     0.00
                                                                                                                               $____________            $_____________
                monthly net income.                                                                                    8a.
          8b. Interest and dividends                                                                                   8b.       0.00
                                                                                                                               $____________              0.00
                                                                                                                                                        $_____________
          8c. Family support payments that you, a non-filing spouse, or a dependent
              regularly receive
                Include alimony, spousal support, child support, maintenance, divorce                                            0.00                     0.00
                                                                                                                               $____________            $_____________
                settlement, and property settlement.                                                                   8c.
          8d. Unemployment compensation                                                                                8d.       0.00
                                                                                                                               $____________              0.00
                                                                                                                                                        $_____________
          8e. Social Security                                                                                          8e.       0.00
                                                                                                                               $____________              0.00
                                                                                                                                                        $_____________
          8f. Other government assistance that you regularly receive
              Include cash assistance and the value (if known) of any non-cash assistance
              that you receive, such as food stamps (benefits under the Supplemental                                             $0.00
                                                                                                                               $____________              0.00
                                                                                                                                                        $_____________
              Nutrition Assistance Program) or housing subsidies.
                       none
              Specify: ___________________________________________________              8f.

          8g. Pension or retirement income                                                                             8g.       0.00
                                                                                                                               $____________              0.00
                                                                                                                                                        $_____________
                                             parents contribution
          8h. Other monthly income. Specify: _______________________________                                           8h.    + $____________
                                                                                                                                 0.00                + $_____________
                                                                                                                                                        1,000.00

      9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.       0.00
                                                                                                                               $____________              1,000.00
                                                                                                                                                        $_____________

     10. Calculate monthly income. Add line 7 + line 9.
         Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                     10.
                                                                                                                                 3,813.08
                                                                                                                               $___________     +         2,299.00
                                                                                                                                                        $_____________       =     6,112.08
                                                                                                                                                                                 $_____________

     11. State all other regular contributions to the expenses that you list in Schedule J.
         Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
         friends or relatives.
         Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
         Specify: _______________________________________________________________________________                                                                      11. + $_____________
                                                                                                                                                                              0.00

     12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
         Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                            12.         6,112.08
                                                                                                                                                                                 $_____________
                                                                                                                                                                                 Combined
                                                                                                                                                                                 monthly income
      13. Do you expect an increase or decrease within the year after you file this form?
               No.
          
          X     Yes. Explain:
                                     husband has applied for VA disablity (PTSD) - no idea how much or when/if it will be approved


      Official Form 106I                                                               Schedule I: Your Income                                                                    page 2
S
Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                   Page:38 of 74



                              Attachment
                 Debtor: Bruce G Alford Jr                        Case No:

 Attachment 1: Additional Notes
     husband paid weekly at $17 an hour, 40 hr week
     wife's parents contribute some $ if kids need anything until VA approved or until wife can
     find full time job
           Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                                         Page:39 of 74
 Fill in this information to identify your case:

 Debtor 1          Bruce G Alford Jr
                   __________________________________________________________________
                     First Name              Middle Name              Last Name                       Check if this is:
 Debtor 2            Heather S Alford
                     ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name              Last Name
                                                                                                       An amended filing
                                                                                                       A supplement showing post-petition chapter 13
                                         District of Georgia Southern
 United States Bankruptcy Court for the: ______________________________________                            expenses as of the following date:
                                                                                                           ________________
 Case number         ___________________________________________                                           MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:             Describe Your Household

1. Is this a joint case?

        No. Go to line 2.
   
   X     Yes. Does Debtor 2 live in a separate household?

                 
                 X   No
                    Yes. Debtor 2 must file Official Forms 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                      No                                 Dependent’s relationship to                 Dependent’s   Does dependent live
    Do not list Debtor 1 and                
                                            X    Yes. Fill out this information for Debtor 1 or Debtor 2                        age           with you?
    Debtor 2.                                    each dependent .........................
    Do not state the dependents’                                                    daughter                                    5
                                                                                                                                                  No
                                                                                    _________________________                   ________
    names.                                                                                                                                    
                                                                                                                                              X
                                                                                                                                                   Yes

                                                                                    son
                                                                                    _________________________                   4
                                                                                                                                ________          No
                                                                                                                                              
                                                                                                                                              X
                                                                                                                                                   Yes

                                                                                    child
                                                                                    _________________________                   17
                                                                                                                                ________      
                                                                                                                                              X
                                                                                                                                                   No
                                                                                                                                                  Yes

                                                                                    child
                                                                                    _________________________                   15
                                                                                                                                ________      
                                                                                                                                              X
                                                                                                                                                   No
                                                                                                                                                  Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

3. Do your expenses include
    expenses of people other than
                                            
                                            X    No
    yourself and your dependents?               Yes

Part 2:          Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form B 106I.)                                           Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                   1,270.00
                                                                                                                                  $_____________________
     any rent for the ground or lot.                                                                                      4.

     If not included in line 4:
     4a.       Real estate taxes                                                                                          4a.      0.00
                                                                                                                                  $_____________________
     4b.       Property, homeowner’s, or renter’s insurance                                                               4b.      0.00
                                                                                                                                  $_____________________
     4c.       Home maintenance, repair, and upkeep expenses                                                              4c.      0.00
                                                                                                                                  $_____________________
     4d.       Homeowner’s association or condominium dues                                                                4d.      31.35
                                                                                                                                  $_____________________

 Official Form 106J                                           Schedule J: Your Expenses                                                             page 1
            Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                            Page:40 of 74
Debtor 1          Bruce G Alford Jr
                 _______________________________________________________                   Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                       Your expenses

                                                                                                                        0.00
                                                                                                                      $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                 5.


 6. Utilities:

      6a.    Electricity, heat, natural gas                                                                    6a.      225.00
                                                                                                                      $_____________________
      6b.    Water, sewer, garbage collection                                                                  6b.      75.00
                                                                                                                      $_____________________
      6c.    Telephone, cell phone, Internet, satellite, and cable services                                    6c.      350.00
                                                                                                                      $_____________________
      6d.                    security
             Other. Specify: _______________________________________________                                   6d.      50.00
                                                                                                                      $_____________________

 7. Food and housekeeping supplies                                                                             7.       800.00
                                                                                                                      $_____________________

 8. Childcare and children’s education costs                                                                   8.       0.00
                                                                                                                      $_____________________
 9. Clothing, laundry, and dry cleaning                                                                        9.       0.00
                                                                                                                      $_____________________
10.   Personal care products and services                                                                      10.      0.00
                                                                                                                      $_____________________
11.   Medical and dental expenses                                                                              11.      250.00
                                                                                                                      $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                        200.00
                                                                                                                      $_____________________
      Do not include car payments.                                                                             12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                       13.      0.00
                                                                                                                      $_____________________
14.   Charitable contributions and religious donations                                                         14.      100.00
                                                                                                                      $_____________________
                                                                                                                                                    16.
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                      15a.     0.00
                                                                                                                      $_____________________
      15b. Health insurance                                                                                    15b.     0.00
                                                                                                                      $_____________________
      15c. Vehicle insurance                                                                                   15c.     288.00
                                                                                                                      $_____________________
      15d. Other insurance. Specify:_______________________________________                                    15d.     0.00
                                                                                                                      $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                        0.00
                                                                                                                      $_____________________
      Specify: ________________________________________________________                                        16.

17.   Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                          17a.     0.00
                                                                                                                      $_____________________

      17b. Car payments for Vehicle 2                                                                          17b.     0.00
                                                                                                                      $_____________________

                           Gateway storage
      17c. Other. Specify:_______________________________________________                                      17c.    130.00
                                                                                                                      $_____________________

      17d. Other. Specify:_______________________________________________                                      17d.   $_____________________

18.   Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule I, Your Income (Official Form 106I).                                         18.     1,500.00
                                                                                                                      $_____________________

19.   Other payments you make to support others who do not live with you.
      Specify:_______________________________________________________                                           19.    0.00
                                                                                                                      $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                         20a.    0.00
                                                                                                                      $_____________________

      20b. Real estate taxes                                                                                   20b.    0.00
                                                                                                                      $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                        20c.    0.00
                                                                                                                      $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                            20d.    0.00
                                                                                                                      $_____________________

      20e. Homeowner’s association or condominium dues                                                         20e.    0.00
                                                                                                                      $_____________________



  Official Form 106J                                           Schedule J: Your Expenses                                                   page 2
                 Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                              Page:41 of 74
    Debtor 1         Bruce G Alford Jr
                     _______________________________________________________                      Case number (if known)_____________________________________
                     First Name    Middle Name        Last Name




    21.    Other. Specify: _________________________________________________                                          21.   +$_____________________
                                                                                                                               0.00


    22.    Calculate your monthly expenses.                                                                                   5,269.35
                                                                                                                             $_____________________
           22a. Add lines 4 through 21.
                                                                                                                             $_____________________
           22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               5,269.35
                                                                                                                             $_____________________
           22c. Add line 22a and 22b. The result is your monthly expenses.                                            22.




    23. Calculate your monthly net income.
                                                                                                                               6,112.08
                                                                                                                              $_____________________
          23a.    Copy line 12 (your combined monthly income) from Schedule I.                                       23a.

          23b.    Copy your monthly expenses from line 22 above.                                                     23b.   – $_____________________
                                                                                                                               5,269.35

          23c.    Subtract your monthly expenses from your monthly income.
                                                                                                                                842.73
                                                                                                                              $_____________________
                  The result is your monthly net income.                                                             23c.




    24. Do you expect an increase or decrease in your expenses within the year after you file this form?

          For example, do you expect to finish paying for your car loan within the year or do you expect your
          mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

          
          X
              No.
             Yes.      Explain here:




      Official Form 106J                                          Schedule J: Your Expenses                                                       page 3
S
Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06               Page:42 of 74



                              Attachment
                 Debtor: Bruce G Alford Jr                     Case No:
 Attachment 1: Additional Notes
     debtors parents have been contributing money to cover mortgage and a lot of household
     bills, including his child support
         Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                                                                       Page:43 of 74

 Fill in this information to identify your case:

 Debtor 1          Bruce                   G                     Alford Jr
                   __________________________________________________________________
                     First Name                      Middle Name                     Last Name

 Debtor 2          Heather               S                      Alford
                   ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                     Last Name


                                         District of Georgia Southern
 United States Bankruptcy Court for the: ______________________________________

 Case number         ___________________________________________                                                                                                           Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................
                                                                                                                                                                            192,060.00
                                                                                                                                                                          $ ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................              37,690.95
                                                                                                                                                                          $ ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                            229,750.95
                                                                                                                                                                          $ ________________



Part 2:        Summarize Your Liabilities



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............
                                                                                                                                                                            306,647.28
                                                                                                                                                                          $ ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                            5,079.00
                                                                                                                                                                          $ ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ..........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ......................................
                                                                                                                                                                      +     265,808.92
                                                                                                                                                                          $ ________________


                                                                                                                                     Your total liabilities                 577,535.20
                                                                                                                                                                          $ ________________



Part 3:        Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................
                                                                                                                                                                            6,112.08
                                                                                                                                                                          $ ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22, Column A, of Schedule J..................................................................................                      5,269.35
                                                                                                                                                                          $ ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
           Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                                     Page:44 of 74
Debtor 1    Bruce                 G                     Alford Jr
               _______________________________________________________                             Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Part 4:        Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
    
    X
      Yes


7. What kind of debt do you have?

    
    X
      Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-10 for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                 3,148.01
                                                                                                                                       $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                           Total claim


     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)
                                                                                                            0.00
                                                                                                           $_____________________

    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)
                                                                                                            5,079.00
                                                                                                           $_____________________

    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)
                                                                                                            0.00
                                                                                                           $_____________________


    9d. Student loans. (Copy line 6f.)
                                                                                                            0.00
                                                                                                           $_____________________

    9e. Obligations arising out of a separation agreement or divorce that you did not report as
        priority claims. (Copy line 6g.)                                                                    0.00
                                                                                                           $_____________________


    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                 0.00
                                                                                                        + $_____________________


    9g. Total. Add lines 9a through 9f.                                                                      5,079.00
                                                                                                           $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
             Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                                         Page:45 of 74
Fill in this information to identify your case:

Debtor 1          Bruce G Alford Jr
                  __________________________________________________________________
                    First Name                 Middle Name              Last Name

Debtor 2            Heather S Alford
                    ________________________________________________________________
(Spouse, if filing) First Name                 Middle Name              Last Name


                                                District Of Georgia Southern
United States Bankruptcy Court for the: _______________________________________

Case number         ___________________________________________
(If known)
                                                                                                                                               Check if this is an
                                                                                                                                                  amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor’s Schedules                                                                                                          12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       X
         No
       Yes.          Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                                   Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




         s/Bruce G Alford Jr
          ______________________________________________             
                                                                      _____________________________
                                                                            s/Heather S Alford
         Signature of Debtor 1                                             Signature of Debtor 2


              11/01/2018
         Date _________________                                                 11/01/2018
                                                                           Date _________________
                MM /    DD       /   YYYY                                           MM / DD /   YYYY




  Official Form 106Dec                                         Declaration About an Individual Debtor’s Schedules                                         page 1
         Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                                   Page:46 of 74

 Fill in this information to identify your case:

 Debtor 1           Bruce                   G                     Alford Jr
                   __________________________________________________________________
                     First Name             Middle Name                Last Name

 Debtor 2             Heather                S                     Alford
                     ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name                Last Name


                                          District of Georgia Southern
 United States Bankruptcy Court for the: ____________________________________________

 Case number         ___________________________________________
  (If known)                                                                                                                           Check if this is an
                                                                                                                                         amended filing




Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                     04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


 Part 1:         Give Details About Your Marital Status and Where You Lived Before


 1. What is your current marital status?


      
      X Married


       Not married

 2. During the last 3 years, have you lived anywhere other than where you live now?

     
     X
           No
          Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

               Debtor 1:                                        Dates Debtor 1      Debtor 2:                                              Dates Debtor 2
                                                                lived there                                                                lived there

                                                                                     Same as Debtor 1                                       Same as Debtor 1


               __________________________________________       From     ________       ___________________________________________           From ________
                Number    Street                                                        Number Street
                                                                To       ________                                                             To    ________
               __________________________________________                               ___________________________________________

               __________________________________________                               ___________________________________________
               City                     State ZIP Code                                  City                     State ZIP Code


                                                                                     Same as Debtor 1                                       Same as Debtor 1


               __________________________________________       From     ________       ___________________________________________           From ________
                Number    Street                                                        Number Street
                                                                To       ________                                                             To    ________
               __________________________________________                               ___________________________________________

               __________________________________________                               ___________________________________________
               City                     State ZIP Code                                  City                     State   ZIP Code


 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
     and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
     
     X     No
          Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 1
           Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                                              Page:47 of 74
Debtor 1        Bruce G Alford Jr
                _______________________________________________________                                  Case number (if known)_____________________________________
                First Name      Middle Name          Last Name




 Part 2: Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

          No
    
     X     Yes. Fill in the details.

                                                           Debtor 1                                               Debtor 2

                                                           Sources of income             Gross income             Sources of income           Gross income
                                                           Check all that apply.         (before deductions and   Check all that apply.       (before deductions and
                                                                                         exclusions)                                          exclusions)


            From January 1 of current year until
                                                                Wages, commissions,                                 Wages, commissions,
                                                                 bonuses, tips            32,000.00
                                                                                         $________________            bonuses, tips           $________________
            the date you filed for bankruptcy:
                                                            
                                                            X
                                                                 Operating a business                                Operating a business


            For last calendar year:
                                                                Wages, commissions,                                 Wages, commissions,
                                                                 bonuses, tips            87,013.00
                                                                                         $________________            bonuses, tips           $________________
                                       2017
            (January 1 to December 31, _________)           
                                                            X
                                                                 Operating a business                                Operating a business
                                              YYYY



            For the calendar year before that:
                                                                Wages, commissions,                                 Wages, commissions,
                                                                 bonuses, tips                                        bonuses, tips
                                                                                          24,661.00
                                                                                         $________________                                    $________________
                                       2016
            (January 1 to December 31, _________)           
                                                            X
                                                                 Operating a business                                Operating a business
                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

          No
     
     X
           Yes. Fill in the details.
                                                            Debtor 1                                               Debtor 2

                                                            Sources of income            Gross income from         Sources of income          Gross income from
                                                            Describe below.              each source               Describe below.            each source
                                                                                         (before deductions and                               (before deductions and
                                                                                         exclusions)                                          exclusions)


                                                          __________________                               parents contribution
                                                                                        $_________________ _____________________
            From January 1 of current year until                                                                                  70,000.00
                                                                                                                                 $_________________
            the date you filed for bankruptcy:            __________________            $_________________ _____________________ $_________________
                                                          __________________            $_________________ _____________________ $_________________


            For last calendar year:                       __________________            $_________________ _____________________ $_________________

                                       2017
            (January 1 to December 31, ______)            __________________            $_________________ _____________________ $_________________
                                              YYYY
                                                          __________________            $_________________ _____________________ $_________________



            For the calendar year before that:            __________________            $_________________ _____________________ $_________________
                                       2016
            (January 1 to December 31, ______)            __________________            $_________________ _____________________ $_________________
                                              YYYY
                                                          __________________            $_________________ _____________________ $_________________




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 2
           Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                                        Page:48 of 74
Debtor 1        Bruce G Alford Jr
               _______________________________________________________                             Case number (if known)_____________________________________
               First Name       Middle Name           Last Name




 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                   No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                         total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                         child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

    X    Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               X
                    No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                      Dates of      Total amount paid        Amount you still owe       Was this payment for…
                                                                      payment


                      ____________________________________
                      Creditor’s Name
                                                                     _________      $_________________ $__________________               Mortgage
                                                                                                                                         Car
                      ____________________________________           _________
                      Number    Street                                                                                                   Credit card
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code                                                                       Other ____________


                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________
                      Number    Street
                                                                     _________                                                           Credit card
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ____________



                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________
                      Number    Street
                                                                     _________                                                           Credit card
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ____________



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 3
           Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                                          Page:49 of 74
Debtor 1           Bruce G Alford Jr
                   _______________________________________________________                            Case number (if known)_____________________________________
                   First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     
     X
           No
          Yes. List all payments to an insider.
                                                                        Dates of      Total amount      Amount you still   Reason for this payment
                                                                        payment       paid              owe


            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



            ____________________________________________                             $____________ $____________
                                                                      _________
            Insider’s Name

            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     
     X
           No
          Yes. List all payments that benefited an insider.
                                                                       Dates of        Total amount     Amount you still   Reason for this payment
                                                                       payment         paid             owe
                                                                                                                           Include creditor’s name

            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code




            ____________________________________________                             $____________ $____________
                                                                      _________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 4
           Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                                                      Page:50 of 74
Debtor 1        Bruce G Alford Jr
                _______________________________________________________                                        Case number (if known)_____________________________________
                First Name            Middle Name            Last Name




  Part 4:       Identify Legal Actions, Repossessions, and Foreclosures

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

          No
     
     X
           Yes. Fill in the details.
                                                                    Nature of the case                   Court or agency                                 Status of the case

                                                                  suit on acct
                                                                                                        Supreme Court State of NY
                        Crestview Financial LLC vs
            Case title_____________________________
                                                                                                        ________________________________________
                                                                                                        Court Name
                                                                                                                                                         
                                                                                                                                                         X
                                                                                                                                                             Pending

            See Attachment 1                                                                                                                                On appeal
            ____________________________________                                                        County of Erie
                                                                                                        ________________________________________
                                                                                                        Number    Street                                    Concluded

                        18 810162
            Case number ________________________                                                        New York           NY
                                                                                                        ________________________________________
                                                                                                        City                   State   ZIP Code

                                                                  suit on acct
                                                                                                        Magistrate Court
                      Pilcher Hardy Rentals LLC v
            Case title_____________________________
                                                                                                        ________________________________________
                                                                                                        Court Name
                                                                                                                                                         
                                                                                                                                                         X
                                                                                                                                                             Pending

                                                                                                                                                            On appeal
            See Attachment 2
            ____________________________________                                                        Richmond County
                                                                                                        ________________________________________
                                                                                                        Number    Street                                    Concluded

                        913048
            Case number ________________________                                                        Augusta            GA     30901
                                                                                                        ________________________________________
                                                                                                        City                   State   ZIP Code
                                                                                                                                                       See Attachment 3
 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

          No. Go to line 11.
     X
           Yes. Fill in the information below.

                                                                              Describe the property                                     Date           Value of the property

                                                                             2015 Ford F250
                 US Bank
                 _________________________________________                                                                              7/17/2018
                                                                                                                                        __________      41,200.00
                                                                                                                                                       $______________
                 Creditor’s Name


                 PO Box 2407
                 _________________________________________
                 Number      Street                                           Explain what happened

                                                                              
                                                                              X
                                                                                   Property was repossessed.
                 _________________________________________
                                                                                  Property was foreclosed.
                                                                                  Property was garnished.
                 Minneapolis            MN     55402
                 _________________________________________
                 City                               State   ZIP Code              Property was attached, seized, or levied.

                                                                              Describe the property                                     Date            Value of the property

                                                                             2015 Ford Explorer

                                                                                                                                       7/9/2018
                                                                                                                                       __________       25,625.00
                                                                                                                                                       $______________
                 Ford Motor Credit
                 _________________________________________
                 Creditor’s Name


                 PO Box 689007
                 _________________________________________
                 Number      Street
                                                                              Explain what happened

                 _________________________________________                    
                                                                              X
                                                                                   Property was repossessed.
                                                                                  Property was foreclosed.
                 Franklin                TN    37068
                 _________________________________________                        Property was garnished.
                 City                               State   ZIP Code
                                                                                  Property was attached, seized, or levied.                           See Attachment 4




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5
           Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                                            Page:51 of 74
Debtor 1          Bruce G Alford Jr
                  _______________________________________________________                                Case number (if known)_____________________________________
                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     
     X
           No
          Yes. Fill in the details.

                                                                 Describe the action the creditor took                         Date action       Amount
                                                                                                                               was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                             ____________ $________________
           Number     Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–___ ___ ___ ___


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     
     X
           No
          Yes

 Part 5:          List Certain Gifts and Contributions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     
     X     No
          Yes. Fill in the details for each gift.


            Gifts with a total value of more than $600           Describe the gifts                                            Dates you gave        Value
            per person                                                                                                         the gifts



           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________
           Number Street

           ______________________________________


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
           per person                                                                                                          the gifts


           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________
           Number Street


           ______________________________________


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 6
           Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                                                    Page:52 of 74
Debtor 1           Bruce G Alford Jr
                   _______________________________________________________                                     Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     
     X
           No
          Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                   Describe what you contributed                                         Date you            Value
            that total more than $600                                                                                                   contributed



           _____________________________________                                                                                        _________           $_____________
           Charity’s Name


           _____________________________________                                                                                        _________           $_____________
           Number Street


           _____________________________________



           _____________________________________
           City           State    ZIP Code




 Part 6:           List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
     or gambling?

     
     X
           No
          Yes. Fill in the details.

            Describe the property you lost and how                 Describe any insurance coverage for the loss                         Date of your loss   Value of property
            the loss occurred                                                                                                                               lost
                                                                   Include the amount that insurance has paid. List pending insurance
                                                                   claims on line 33 of Schedule A/B: Property.


                                                                                                                                        _________           $_____________




 Part 7:          List Certain Payments or Transfers

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
     consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

          No
     
     X
           Yes. Fill in the details.

                                                                   Description and value of any property transferred                    Date payment or     Amount of payment
            Allen Credit&Debt Counseling                                                                                                transfer was made
            ___________________________________
            Person Who Was Paid
                                                                 $20 for pre counseling
            online
            ___________________________________
            Number       Street                                                                                                         _________           $_____________

            ___________________________________
                                                                                                                                        _________           $_____________
            ___________________________________
            City                       State    ZIP Code


            ____________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 7
           Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                                                 Page:53 of 74
Debtor 1           Bruce G Alford Jr
                   _______________________________________________________                                    Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred                Date payment or        Amount of
                                                                                                                                     transfer was made      payment

            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $_____________
            ____________________________________
            Number       Street

                                                                                                                                     _________             $_____________
            ____________________________________

            ____________________________________
            City                        State    ZIP Code



            ________________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     
     X     No
          Yes. Fill in the details.

                                                                    Description and value of any property transferred                Date payment or       Amount of payment
                                                                                                                                     transfer was made
            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $____________
            ____________________________________
            Number        Street

            ____________________________________                                                                                     _________             $____________

            ____________________________________
            City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
          No
     
     X
           Yes. Fill in the details.

                                                                    Description and value of property         Describe any property or payments received      Date transfer
                                                                    transferred                               or debts paid in exchange                       was made
            3rd party
            ___________________________________
            Person Who Received Transfer                          2015 Bobcat MT55 $8500                    sold for scrap-money put into business for
                                                                                                            items such as payroll. When debtor
            ___________________________________                                                             received payday loans in 2017 they money          2018
                                                                                                                                                              _________
            Number       Street                                                                             was used to operate the businss. When
                                                                                                            debtor recevied the SBA loan in 2018 the
            ___________________________________
                                                                                                            money was used to refund $ to customers
                                                                                                            where work could not be done and to make
            ___________________________________
            City                        State    ZIP Code                                                   payroll.

                                         none
            Person’s relationship to you _____________

            ___________________________________
            Person Who Received Transfer
                                                                                                                                                              _________
            ___________________________________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code

            Person’s relationship to you _____________

Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 8
           Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                                                 Page:54 of 74
Debtor 1           Bruce G Alford Jr
                   _______________________________________________________                                   Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     
     X
           No
          Yes. Fill in the details.

                                                                   Description and value of the property transferred                                       Date transfer
                                                                                                                                                           was made


                                                                                                                                                           _________
           Name of trust __________________________


           ______________________________________




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
          No
     X
           Yes. Fill in the details.

                                                                   Last 4 digits of account number      Type of account or       Date account was       Last balance before
                                                                                                        instrument               closed, sold, moved,   closing or transfer
                                                                                                                                 or transferred
            South State Bank
            ____________________________________
            Name of Financial Institution
                                                                       XXXX–___ ___ ___ ___             Checking               2018
                                                                                                                                 _________               0.00
                                                                                                                                                        $___________
            ____________________________________
            Number       Street
                                                                                                         Savings
            ____________________________________                                                         Money market
            Augusta             GA
            ____________________________________
                                                                                                         Brokerage
            City                       State    ZIP Code                                                 Other__________

            Queensborough Bank
            ____________________________________                       XXXX–___ ___ ___ ___             
                                                                                                         X
                                                                                                          Checking               3/2018
                                                                                                                                 _________               2.76
                                                                                                                                                        $___________
            Name of Financial Institution
                                                                                                         Savings
            ____________________________________
            Number       Street                                                                          Money market
            ____________________________________                                                         Brokerage
            Augusta             GA
            ____________________________________                                                         Other__________
            City                       State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     X
           No
          Yes. Fill in the details.
                                                                       Who else had access to it?                  Describe the contents                       Do you still
                                                                                                                                                               have it?

                                                                                                                                                                  No
            ____________________________________
            Name of Financial Institution
                                                                  _______________________________________
                                                                  Name
                                                                                                                                                                  Yes

            ____________________________________                  _______________________________________                                                      
            Number       Street                                   Number      Street
            ____________________________________
                                                                  _______________________________________
                                                                  City          State      ZIP Code
            ____________________________________
            City                       State    ZIP Code



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 9
             Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                                                            Page:55 of 74
Debtor 1              Bruce G Alford Jr
                      _______________________________________________________                                              Case number (if known)_____________________________________
                      First Name      Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
            No
    X
             Yes. Fill in the details.
                                                                       Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                            have it?
                                                                                                                               tools, tool boxes
               Gateway Storage
               ___________________________________                     Bruce & Heather Alford
                                                                       _______________________________________                                                                No
               Name of Storage Facility                                Name                                                                                                   Yes
                                                                                                                                                                              X



               475 Lewiston Road
               ___________________________________                     515 Sweet Meadow Drive
                                                                       _______________________________________                                                               
               Number       Street                                     Number    Street

               ___________________________________                     Grovetown, Ga 30813
                                                                       _______________________________________
                                                                       City State ZIP Code
               Grovetown           Ga      30813
               ___________________________________
               City                        State     ZIP Code



 Part 9:                Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
        X
             No
            Yes. Fill in the details.
                                                                      Where is the property?                                    Describe the property                    Value


               ___________________________________
               Owner’s Name                                                                                                                                              $__________
                                                                     _________________________________________
               ___________________________________                   Number     Street
               Number        Street
                                                                     _________________________________________
               ___________________________________
                                                                     _________________________________________
               ___________________________________                   City                             State     ZIP Code
               City                        State     ZIP Code


 Part 10:               Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
     it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


        X
             No
            Yes. Fill in the details.
                                                                       Governmental unit                            Environmental law, if you know it                   Date of notice



              ____________________________________                    _______________________________                                                                    _________
              Name of site                                            Governmental unit

              ____________________________________                    _______________________________
              Number       Street                                     Number    Street

                                                                      _______________________________
              ____________________________________                    City                   State   ZIP Code


              ____________________________________
              City                        State     ZIP Code



Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 10
           Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                                                                Page:56 of 74
Debtor 1               Bruce G Alford Jr
                       _______________________________________________________                                              Case number (if known)_____________________________________
                       First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     X
           No
          Yes. Fill in the details.
                                                                       Governmental unit                               Environmental law, if you know it                    Date of notice


            ____________________________________                      _______________________________
            Name of site                                              Governmental unit
                                                                                                                                                                             _________

            ____________________________________                      _______________________________
            Number            Street                                  Number     Street


            ____________________________________                      _______________________________
                                                                      City                  State    ZIP Code
            ____________________________________
            City                            State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     X
           No
          Yes. Fill in the details.
                                                                                                                                                                             Status of the
                                                                        Court or agency                                     Nature of the case
                                                                                                                                                                             case

           Case title______________________________
                                                                        ________________________________
                                                                        Court Name
                                                                                                                                                                              Pending
           ______________________________________
                                                                                                                                                                              On appeal
                                                                        ________________________________
                                                                        Number     Street                                                                                    Concluded

           ______________________________________
           Case number                                                  ________________________________
                                                                        City                        State   ZIP Code
                                                                                                                                                                             

 Part 11:                Give Details About Your Business or Connections to Any Business

 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           X
                  A member of a limited liability company (LLC) or limited liability partnership (LLP)
                 A partner in a partnership
                 An officer, director, or managing executive of a corporation
                 An owner of at least 5% of the voting or equity securities of a corporation

          No. None of the above applies. Go to Part 12.
     X
           Yes. Check all that apply above and fill in the details below for each business.
                                                                        Describe the nature of the business                                Employer Identification number
                Georgia-Lina Pools & Landscaping
                ____________________________________                                                                                       Do not include Social Security number or ITIN.
                Business Name
                                                                       pool construction
                193 N Louisville Street
                ____________________________________
                                                                                                                                           EIN: ___ 2 – ___
                                                                                                                                                 8 ___   1 ___
                                                                                                                                                            6 ___
                                                                                                                                                               2 ___
                                                                                                                                                                  5 ___
                                                                                                                                                                     4 ___
                                                                                                                                                                        8 ___
                                                                                                                                                                           7
                Number        Street
                                                                        Name of accountant or bookkeeper                                   Dates business existed
                ____________________________________                   Debtor
                                                                                                                                           From     6/1/2007    7/6/2018
                                                                                                                                                    _______ To _______
                Harlem              GA     30814
                ____________________________________
                City                        State    ZIP Code

                                                                        Describe the nature of the business                                Employer Identification number
                CSRA Lawn & Sprinkler LLC
                ____________________________________                                                                                       Do not include Social Security number or ITIN.
                Business Name
                                                                       lawn maintentance
                515 Sweet Meadow Drive
                ____________________________________                                                                                       EIN: ___ 6 – ___
                                                                                                                                                 4 ___   0 ___
                                                                                                                                                            6 ___
                                                                                                                                                               1 ___
                                                                                                                                                                  0 ___
                                                                                                                                                                     6 ___
                                                                                                                                                                        3 ___
                                                                                                                                                                           4
                Number        Street
                                                                        Name of accountant or bookkeeper                                   Dates business existed
                ____________________________________                   Debtor
                Grovetown           GA     30813                                                                                           From     6/1/2007    7/6/2018
                                                                                                                                                    _______ To _______
                ____________________________________
                City                        State    ZIP Code


Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                    page 11
           Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                                                Page:57 of 74
Debtor 1           Bruce G Alford Jr
                   _______________________________________________________                                   Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                                                                           Employer Identification number
                                                                    Describe the nature of the business
            Yard Barber                                                                                                    Do not include Social Security number or ITIN.
            ____________________________________
            Business Name                                         yard care
                                                                                                                           EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            193 N Louisville Street
            ____________________________________
            Number        Street
                                                                    Name of accountant or bookkeeper                       Dates business existed

            ____________________________________                  debtor

            Harlem              Ga     30814
            ____________________________________                                                                           From      8/2017 To _______
                                                                                                                                    _______      See 5
            City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     
     X
           No
          Yes. Fill in the details below.

                                                                    Date issued



            ____________________________________                    ____________
            Name                                                    MM / DD / YYYY


            ____________________________________
            Number        Street


            ____________________________________

            ____________________________________
            City                        State    ZIP Code




 Part 12:          Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




            s/Bruce G Alford Jr
            ______________________________________________                        _____________________________
                                                                                     s/Heather S Alford
            Signature of Debtor 1                                                    Signature of Debtor 2


                  1 November 2018
            Date ________________                                                          1 November 2018
                                                                                     Date _________________

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

      
      X      No
            Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      
      X     No
           Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                               Declaration, and Signature (Official Form 119).




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 12
Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                 Page:58 of 74



                                 Attachment 1/2
                     Debtor: Bruce G Alford Jr               Case No:
     Attachment 1
          Georgia-Lina Pools & Landscaping LLC and Bruce Alford

     Attachment 2
          CSRA Lawn Sprinkler LLC & Bruce G Alford Jr
 Attachment 3 Additional Lawsuits, Court Actions, or Administrative Proceedings
      Case Title: Linda S Beazley v Bruce G Alford
      Case Number: 2018SCS1953
      Nature of Case: suit on acct (disputed)
      Court or Agency's Name: Magistrate Court
      Court or Agency's Address: Columbia County, Evans, GA 30809
      Status of Case: Pending

     Case Title: Paulette & Vincent Ingallinera v Georgia-Lina Pools & Landscaping & Bruce
     & Heather Alford
     Case Number: 2018ECV0198
     Nature of Case: suit on acct (disputed)
     Court or Agency's Name: Superior Cour
     Court or Agency's Address: Columbia County, Evans, GA 30809
     Status of Case: Pending

     Case Title: Thomas Concrete of SC Inc v Georgia-Lina Landscaping and Bruce G Alford Jr
     Case Number: 2018ECV0208
     Nature of Case: suit on acct
     Court or Agency's Name: Superior Court
     Court or Agency's Address: Columbia County, Evans, GA 30809
     Status of Case: Pending

 Attachment 4 Additional Property Repossessed, Foreclosed, Garnished, Etc.
      Creditor's Name: CNH Industrial
      Creditor's Address: PO Box 71264, Philadelphia, PA 19176
      Property Description: skid steer & excavator
      The Property Was: Repossessed
      Date of Action:7/2018
      Value: $8,000.00

     Creditor's Name: Fidelity Bank
     Creditor's Address: PO Box 105075, Atlanta, GA 30348
     Property Description: 2014 Ford F150
     The Property Was: Repossessed
     Date of Action:8/2018
     Value: $20,550.00
Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06   Page:59 of 74



                               Attachment 2/2
                   Debtor: Bruce G Alford Jr       Case No:
     Attachment 5
          10/31/2017
           Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                                 Page:60 of 74
  Fill in this information to identify your case:                                                              Check as directed in lines 17 and 21:
                                                                                                               According to the calculations required by
  Debtor 1          Bruce G Alford Jr
                    __________________________________________________________________                         this Statement:
                      First Name             Middle Name             Last Name

  Debtor 2            Heather S Alford
                      ________________________________________________________________                         
                                                                                                               X
                                                                                                                   1. Disposable income is not determined
  (Spouse, if filing) First Name             Middle Name             Last Name                                        under 11 U.S.C. § 1325(b)(3).
                                          DISTRICT OF GEORGIA SOUTHERN
  United States Bankruptcy Court for the: ______________________________________                                  2. Disposable income is determined
                                                                                                                      under 11 U.S.C. § 1325(b)(3).
  Case number         ___________________________________________
  (If known)                                                                                                   
                                                                                                               X
                                                                                                                   3. The commitment period is 3 years.
                                                                                                                  4. The commitment period is 5 years.


                                                                                                              
                                                                                                               Check if this is an amended filing



Official Form 122C–1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).


Part 1:          Calculate Your Average Monthly Income

1. What is your marital and filing status? Check one only.
       Not married. Fill out Column A, lines 2-11.
   
   X
        Married. Fill out both Columns A and B, lines 2-11.

   Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
   bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
   August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in
   the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income
   from that property in one column only. If you have nothing to report for any line, write $0 in the space.

                                                                                                   Column A             Column B
                                                                                                   Debtor 1             Debtor 2 or
                                                                                                                        non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
   payroll deductions).                                                                              2,048.01
                                                                                                   $__________                100.00
                                                                                                                          $__________

3. Alimony and maintenance payments. Do not include payments from a spouse.
                                                                                                         0.00
                                                                                                   $__________                  0.00
                                                                                                                          $__________

4. All amounts from any source which are regularly paid for household expenses of
   you or your dependents, including child support. Include regular contributions from
   an unmarried partner, members of your household, your dependents, parents, and
   roommates. Do not include payments from a spouse. Do not include payments you
   listed on line 3.                                                                                    0.00
                                                                                                   $_________                   0.00
                                                                                                                          $__________

5. Net income from operating a business, profession, or
                                                                    Debtor 1     Debtor 2
   farm
   Gross receipts (before all deductions)
                                                                       0.00
                                                                     $______     0.00
                                                                               $______
                                                                             _         _
   Ordinary and necessary operating expenses                    –                0.00 _
                                                                       0.00 –_ $______
                                                                     $______
                                                                                            Copy
   Net monthly income from a business, profession, or farm
                                                                       0.00
                                                                     $______       0.00 here
                                                                                 $______                0.00
                                                                                                   $_________                  0.00
                                                                                                                         $__________

6. Net income from rental and other real property                   Debtor 1     Debtor 2

   Gross receipts (before all deductions)                              0.00
                                                                     $______     0.00
                                                                               $______
                                                                             _         _
   Ordinary and necessary operating expenses                    –      0.00 –_ $______
                                                                     $______     0.00 _
                                                                                            Copy
   Net monthly income from rental or other real property               0.00
                                                                     $______       0.00 here
                                                                                 $______                0.00
                                                                                                   $_________                  0.00
                                                                                                                         $__________



 Official Form 122C–1              Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                          page 1
   Debtor 1
              Case:18-11560-SDB
                 Bruce G Alford Jr Doc#:1 Filed:11/01/18 Entered:11/01/18
                 _______________________________________________________
                                                                                         16:45:06 Page:61 of 74
                                                                         Case number (if known)_____________________________________
                         First Name               Middle Name                        Last Name



                                                                                                                                                                   Column A                                 Column B
                                                                                                                                                                   Debtor 1                                 Debtor 2 or
                                                                                                                                                                                                            non-filing spouse

7. Interest, dividends, and royalties                                                                                                                                       0.00
                                                                                                                                                                    $____________                                     0.00
                                                                                                                                                                                                                $__________

8. Unemployment compensation                                                                                                                                                0.00
                                                                                                                                                                    $____________                                     0.00
                                                                                                                                                                                                                $__________

     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here: ........................................ 

        For you.....................................................................................                        0.00
                                                                                                                  $_____________
        For your spouse.....................................................................                                0.00
                                                                                                                  $_____________

9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act.                                                                                                                                 0.00
                                                                                                                                                                    $____________                                     0.00
                                                                                                                                                                                                                $__________

10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act or payments
     received as a victim of a war crime, a crime against humanity, or international or
     domestic terrorism. If necessary, list other sources on a separate page and put the
     total below.
        parents contribution                                                                                                                                                0.00
                                                                                                                                                                    $____________                                 1,000.00
                                                                                                                                                                                                               $___________
        __________________________________________________________________
                                                                                                                                                                    $____________                              $___________
        __________________________________________________________________

       Total amounts from separate pages, if any.                                                                                                              + $____________
                                                                                                                                                                         0.00                             + $__________
                                                                                                                                                                                                                   0.00

11. Calculate your total average monthly income. Add lines 2 through 10 for each
     column. Then add the total for Column A to the total for Column B.                                                                                                 2,048.01
                                                                                                                                                                    $____________                    +             1,100.00
                                                                                                                                                                                                               $___________                  =    3,148.01
                                                                                                                                                                                                                                                 $________
                                                                                                                                                                                                                                                 Total average
                                                                                                                                                                                                                                                 monthly income




Part 2:             Determine How to Measure Your Deductions from Income

12. Copy your total average monthly income from line 11. ..........................................................................................................................                                                                3,148.01
                                                                                                                                                                                                                                              $_____________
13. Calculate the marital adjustment. Check one:

         You are not married. Fill in 0 below.
     
     X
          You are married and your spouse is filing with you. Fill in 0 below.
         You are married and your spouse is not filing with you.
           Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of
           you or your dependents, such as payment of the spouse’s tax liability or the spouse’s support of someone other than
           you or your dependents.
           Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary,
           list additional adjustments on a separate page.

           If this adjustment does not apply, enter 0 below.
            __________________________________________________________________________                                                                                  $___________
            __________________________________________________________________________                                                                                  $___________

            __________________________________________________________________________                                                                              + $___________
          Total ................................................................................................................................................                0.00
                                                                                                                                                                        $___________
                                                                                                                                                                                                         Copy here                         ─____________
                                                                                                                                                                                                                                                    0.00


14. Your current monthly income. Subtract the total in line 13 from line 12.                                                                                                                                                                     3,148.01
                                                                                                                                                                                                                                              $ __________


15. Calculate your current monthly income for the year. Follow these steps:

     15a. Copy line 14 here                  ...........................................................................................................................................................................................         3,148.01
                                                                                                                                                                                                                                             $ ____________

            Multiply line 15a by 12 (the number of months in a year).                                                                                                                                                                        x 12
     15b. The result is your current monthly income for the year for this part of the form. ...................................................................................                                                                37,776.12
                                                                                                                                                                                                                                             $___________


   Official Form 122C–1                                Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                                           page 2
   Debtor 1
                Case:18-11560-SDB
                   Bruce G Alford Jr Doc#:1 Filed:11/01/18 Entered:11/01/18
                   _______________________________________________________
                                                                                           16:45:06 Page:62 of 74
                                                                           Case number (if known)_____________________________________
                          First Name              Middle Name                     Last Name




16. Calculate the median family income that applies to you. Follow these steps:

     16a. Fill in the state in which you live.                                                                GA
                                                                                                           _________

     16b. Fill in the number of people in your household.                                                      4
                                                                                                           _________


     16c. Fill in the median family income for your state and size of household. .................................................................................................                                             80,510.00
                                                                                                                                                                                                                             $___________
              To find a list of applicable median income amounts, go online using the link specified in the separate
              instructions for this form. This list may also be available at the bankruptcy clerk’s office.

17. How do the lines compare?

     17a.    
             X
                    Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                    11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Disposable Income (Official Form 122C–2).

     17b.  Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under
                    11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Disposable Income (Official Form 122C–2).
                    On line 39 of that form, copy your current monthly income from line 14 above.


Part 3:                Calculate Your Commitment Period Under 11 U.S.C. §1325(b)(4)


18. Copy your total average monthly income from line 11. .............................................................................................................................
                                                                                                                                                                                                                               3,148.01
                                                                                                                                                                                                                             $__________

19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend that
     calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s income, copy
     the amount from line 13.
     19a. If the marital adjustment does not apply, fill in 0 on line 19a.                                                                                                                                                 ─ $__________
                                                                                                                                                                                                                                    0.00

     19b. Subtract line 19a from line 18.                                                                                                                                                                                      3,148.01
                                                                                                                                                                                                                             $__________


20. Calculate your current monthly income for the year. Follow these steps:

     20a. Copy line 19b.. ..............................................................................................................................................................................................       3,148.01
                                                                                                                                                                                                                            $___________

              Multiply by 12 (the number of months in a year).                                                                                                                                                             x 12
     20b. The result is your current monthly income for the year for this part of the form.                                                                                                                                   37,776.12
                                                                                                                                                                                                                            $___________


     20c. Copy the median family income for your state and size of household from line 16c. .....................................................................
                                                                                                                                                                                                                              80,510.00
                                                                                                                                                                                                                            $___________

21. How do the lines compare?

     
     X
           Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3,
           The commitment period is 3 years. Go to Part 4.
          Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
           check box 4, The commitment period is 5 years. Go to Part 4.


Part 4:             Sign Below


                    By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

                     s/Bruce G Alford Jr
                           ___________________________________________________                                                               ____________________________________
                                                                                                                                              s/Heather S Alford
                          Signature of Debtor 1                                                                                                    Signature of Debtor 2


                               11/01/2018
                          Date _________________                                                                                                         11/01/2018
                                                                                                                                                   Date _________________
                                   MM / DD          / YYYY                                                                                                  MM /      DD        / YYYY


                    If you checked 17a, do NOT fill out or file Form 122C–2.
                    If you checked 17b, fill out Form 122C–2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.



   Official Form 122C–1                               Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                         page 3
Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                                                       Page:63 of 74
B2030 (Form 2030) (12/15)




                                       United States Bankruptcy Court
                                                   DISTRICT OF GEORGIA SOUTHERN



In re
          Bruce G Alford Jr and Heather S Alford
                                                                                                Case No. ___________________

Debtor                                                                                                  13
                                                                                                Chapter ____________________

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above
     named debtor(s) and that compensation paid to me within one year before the filing of the petition in
     bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
     contemplation of or in connection with the bankruptcy case is as follows:

                                                                                                              4,500.00
     For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

                                                                                                            100.00
     Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . $______________

                                                                                                                               4,400.00
     Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

2.   The source of the compensation paid to me was:

            X Debtor                                 Other (specify)

3.   The source of compensation to be paid to me is:

            X Debtor                                 Other (specify)

4.         X I have not agreed to share the above-disclosed compensation with any other person unless they are
           members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who are not
           members or associates of my law firm. A copy of the agreement, together with a list of the names of the
           people sharing in the compensation, is attached.

5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy
     case, including:

     a.    Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to
           file a petition in bankruptcy;

     b.    Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
           hearings thereof;
Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                              Page:64 of 74
B2030 (Form 2030) (12/15)

     d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

     e.   [Other provisions as needed]




6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                      CERTIFICATION

              I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
           me for representation of the debtor(s) in this bankruptcy proceeding.

           November 1, 2018
           ______________________               s/Angela McElroy-Magruder
           Date                                     Signature of Attorney

                                                Claeys McElroy-Magruder & Kitchens
                                                    Name of law firm
Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                         Page:65 of 74




  Notice Required by 11 U.S.C. § 342(b) for
  Individuals Filing for Bankruptcy (Form 2010)


                                                                  Chapter 7:        Liquidation
   This notice is for you if:

       You are an individual filing for bankruptcy,
                                                                            $245     filing fee
         and                                                                 $75     administrative fee
                                                                  +          $15     trustee surcharge
       Your debts are primarily consumer debts.
                                                                            $335     total fee
         Consumer debts are defined in 11 U.S.C.
         § 101(8) as “incurred by an individual                   Chapter 7 is for individuals who have financial
         primarily for a personal, family, or                     difficulty preventing them from paying their
         household purpose.”                                      debts and who are willing to allow their non-
                                                                  exempt property to be used to pay their
                                                                  creditors. The primary purpose of filing under
                                                                  chapter 7 is to have your debts discharged. The
  The types of bankruptcy that are                                bankruptcy discharge relieves you after
  available to individuals                                        bankruptcy from having to pay many of your
                                                                  pre-bankruptcy debts. Exceptions exist for
  Individuals who meet the qualifications may file                particular debts, and liens on property may still
  under one of four different chapters of the                     be enforced after discharge. For example, a
  Bankruptcy Code:                                                creditor may have the right to foreclose a home
                                                                  mortgage or repossess an automobile.
       Chapter 7 — Liquidation
                                                                  However, if the court finds that you have
       Chapter 11 — Reorganization
                                                                  committed certain kinds of improper conduct
                                                                  described in the Bankruptcy Code, the court
       Chapter 12 — Voluntary repayment plan
                     for family farmers or                        may deny your discharge.
                     fishermen
                                                                  You should know that even if you file
                                                                  chapter 7 and you receive a discharge, some
       Chapter 13 — Voluntary repayment plan
                     for individuals with regular                 debts are not discharged under the law.
                     income                                       Therefore, you may still be responsible to pay:
                                                                      most taxes;
  You should have an attorney review your                             most student loans;
  decision to file for bankruptcy and the choice of
                                                                      domestic support and property settlement
  chapter.
                                                                       obligations;




  Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 1
Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                      Page:66 of 74




     most fines, penalties, forfeitures, and                     your income is more than the median income
      criminal restitution obligations; and                       for your state of residence and family size,
     certain debts that are not listed in your                   depending on the results of the Means Test, the
      bankruptcy papers.                                          U.S. trustee, bankruptcy administrator, or
                                                                  creditors can file a motion to dismiss your case
  You may also be required to pay debts arising                   under § 707(b) of the Bankruptcy Code. If a
  from:                                                           motion is filed, the court will decide if your
                                                                  case should be dismissed. To avoid dismissal,
     fraud or theft;
                                                                  you may choose to proceed under another
     fraud or defalcation while acting in breach                 chapter of the Bankruptcy Code.
      of fiduciary capacity;
                                                                  If you are an individual filing for chapter 7
     intentional injuries that you inflicted; and
                                                                  bankruptcy, the trustee may sell your property
     death or personal injury caused by                          to pay your debts, subject to your right to
      operating a motor vehicle, vessel, or                       exempt the property or a portion of the
      aircraft while intoxicated from alcohol or                  proceeds from the sale of the property. The
      drugs.                                                      property, and the proceeds from property that
                                                                  your bankruptcy trustee sells or liquidates that
  If your debts are primarily consumer debts, the                 you are entitled to, is called exempt property.
  court can dismiss your chapter 7 case if it finds               Exemptions may enable you to keep your
  that you have enough income to repay                            home, a car, clothing, and household items or
  creditors a certain amount. You must file                       to receive some of the proceeds if the property
  Chapter 7 Statement of Your Current Monthly                     is sold.
  Income (Official Form 122A–1) if you are an
  individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
  chapter 7. This form will determine your                        property, you must list it on Schedule C: The
  current monthly income and compare whether                      Property You Claim as Exempt (Official Form
  your income is more than the median income                      106C). If you do not list the property, the
  that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                  to your creditors.
  If your income is not above the median for
  your state, you will not have to complete the
  other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
  Test Calculation (Official Form 122A–2).
                                                                           $1,167 filing fee
  If your income is above the median for your                     +          $550 administrative fee
  state, you must file a second form —the                                  $1,717 total fee
  Chapter 7 Means Test Calculation (Official
  Form 122A–2). The calculations on the form—                     Chapter 11 is often used for reorganizing a
  sometimes called the Means Test—deduct                          business, but is also available to individuals.
  from your income living expenses and                            The provisions of chapter 11 are too
  payments on certain debts to determine any                      complicated to summarize briefly.
  amount available to pay unsecured creditors. If


  Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 2
Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                      Page:67 of 74

 Read These Important Warnings


  Because bankruptcy can have serious long-term financial and legal consequences, including loss of
  your property, you should hire an attorney and carefully consider all of your options before you file.
  Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
  and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
  properly and protect you, your family, your home, and your possessions.
  Although the law allows you to represent yourself in bankruptcy court, you should understand that
  many people find it difficult to represent themselves successfully. The rules are technical, and a
  mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
  and following all of the legal requirements.
  You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
  necessary documents.
  Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
  bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
  fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
  20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




  Chapter 12: Repayment plan for family                           Under chapter 13, you must file with the court
              farmers or fishermen                                a plan to repay your creditors all or part of the
                                                                  money that you owe them, usually using your
             $200 filing fee
                                                                  future earnings. If the court approves your
  +           $75 administrative fee
             $275 total fee
                                                                  plan, the court will allow you to repay your
                                                                  debts, as adjusted by the plan, within 3 years or
  Similar to chapter 13, chapter 12 permits                       5 years, depending on your income and other
  family farmers and fishermen to repay their                     factors.
  debts over a period of time using future
  earnings and to discharge some debts that are                   After you make all the payments under your
  not paid.                                                       plan, many of your debts are discharged. The
                                                                  debts that are not discharged and that you may
                                                                  still be responsible to pay include:
                                                                      domestic support obligations,
  Chapter 13: Repayment plan for
              individuals with regular                                most student loans,
              income                                                  certain taxes,
                                                                      debts for fraud or theft,
            $235    filing fee
                                                                      debts for fraud or defalcation while acting
  +          $75    administrative fee
                                                                       in a fiduciary capacity,
            $310    total fee
                                                                      most criminal fines and restitution
  Chapter 13 is for individuals who have regular                       obligations,
  income and would like to pay all or part of                         certain debts that are not listed in your
  their debts in installments over a period of time                    bankruptcy papers,
  and to discharge some debts that are not paid.
                                                                      certain debts for acts that caused death or
  You are eligible for chapter 13 only if your
                                                                       personal injury, and
  debts are not more than certain dollar amounts
                                                                      certain long-term secured debts.
  set forth in 11 U.S.C. § 109.


  Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 3
Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                                      Page:68 of 74




                                                                  A married couple may file a bankruptcy case
                                                                  together—called a joint case. If you file a joint
      Warning: File Your Forms on Time
                                                                  case and each spouse lists the same mailing
      Section 521(a)(1) of the Bankruptcy Code                    address on the bankruptcy petition, the
      requires that you promptly file detailed information
                                                                  bankruptcy court generally will mail you and
      about your creditors, assets, liabilities, income,
      expenses and general financial condition. The               your spouse one copy of each notice, unless
      court may dismiss your bankruptcy case if you do            you file a statement with the court asking that
      not file this information within the deadlines set by       each spouse receive separate copies.
      the Bankruptcy Code, the Bankruptcy Rules, and
      the local rules of the court.

      For more information about the documents and                Understand which services you
      their deadlines, go to:                                     could receive from credit
      http://www.uscourts.gov/bkforms/bankruptcy_form             counseling agencies
      s.html#procedure.
                                                                  The law generally requires that you receive a
                                                                  credit counseling briefing from an approved
                                                                  credit counseling agency. 11 U.S.C. § 109(h).
  Bankruptcy crimes have serious
                                                                  If you are filing a joint case, both spouses must
  consequences
                                                                  receive the briefing. With limited exceptions,
       If you knowingly and fraudulently conceal                 you must receive it within the 180 days before
        assets or make a false oath or statement                  you file your bankruptcy petition. This briefing
        under penalty of perjury—either orally or                 is usually conducted by telephone or on the
        in writing—in connection with a                           Internet.
        bankruptcy case, you may be fined,
        imprisoned, or both.                                      In addition, after filing a bankruptcy case, you
                                                                  generally must complete a financial
        All information you supply in connection                 management instructional course before you
        with a bankruptcy case is subject to                      can receive a discharge. If you are filing a joint
        examination by the Attorney General acting                case, both spouses must complete the course.
        through the Office of the U.S. Trustee, the
        Office of the U.S. Attorney, and other                    You can obtain the list of agencies approved to
        offices and employees of the U.S.                         provide both the briefing and the instructional
        Department of Justice.                                    course from:
                                                                  http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
  Make sure the court has your                                    In Alabama and North Carolina, go to:
  mailing address                                                 http://www.uscourts.gov/FederalCourts/Bankruptcy/

  The bankruptcy court sends notices to the                       BankruptcyResources/ApprovedCredit

  mailing address you list on Voluntary Petition                  AndDebtCounselors.aspx.

  for Individuals Filing for Bankruptcy (Official
                                                                  If you do not have access to a computer, the
  Form 101). To ensure that you receive
                                                                  clerk of the bankruptcy court may be able to
  information about your case, Bankruptcy
                                                                  help you obtain the list.
  Rule 4002 requires that you notify the court of
  any changes in your address.


  Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 4
Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06   Page:69 of 74
                                     American Profit Recovery
                                     34505 W 12 Mile Road
                                     Ste 333
                                     Farmington Hills, MI 48331


                                     AU Health
                                     PO Box 2306
                                     Augusta, GA 30903



                                     Capital One
                                     PO Box 30285
                                     SLC, UT 84130



                                     Capital One
                                     PO Box 30285
                                     SLC, UT 84130



                                     Chase
                                     PO Box 15298
                                     Wilmington, DE 19850



                                     CNH Industrial
                                     PO box 71264
                                     Philadelphia, PA 19176


                                     Crestview Financial LLC
                                     1430 Broadway
                                     Ste 402
                                     New York, NY 10018


                                     CSRA Lawn & Sprinkler
                                     515 Sweet Meadow Drive
                                     Grovetown, GA 30813



                                     Faiway Lawns
                                     PO box 55900
                                     Little Rock, AR 72215
Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06   Page:70 of 74
                                     Fidelity Bank
                                     PO Box 105075
                                     Atlanta, Ga 30348



                                     Ford Motor Credit
                                     PO Box 689007
                                     Franklin, TN 37068



                                     GA Dept of Revenue
                                     1800 Century Blvd NE, Ste 9100
                                     Atlanta, GA 30345



                                     Gateway Storage
                                     475 Lewiston Road
                                     Grovetown, GA 30813



                                     Georgia-Lina Lanscaping & Pools
                                     515 Sweet Meadow Drive
                                     Grovetown, GA 30813



                                     Georgia-Lina Pools & Landscaping
                                     515 Sweet Meadow Drive
                                     Grovetown, GA 30813



                                     Independence Bank
                                     1370 South County Trail
                                     East Greenwich, RI 02818



                                     Internal Revenue Service
                                     PO Box 7346
                                     Philadelphia, PA 19101



                                     Kohls
                                     PO Box 2983
                                     Milwaukee, WI 53201
Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06   Page:71 of 74
                                     Linda S Beazley
                                     2008 McDowell Street
                                     Augusta, GA 30904



                                     Loancare Servicing
                                     PO Box 37628
                                     Philadelphia, PA 19101


                                     Paulette & Vincent Ingallinera
                                     c/o Andrew A Murdison
                                     339 Fury's Ferry Rd, Ste 3
                                     Box 115
                                     Martinez, GA 30907

                                     Pilcher-Hardy Rentals
                                     c/o John P Manton III
                                     429 Walker Street, Upper Level
                                     Augusta, GA 30901


                                     Pilcher-Hardy Rentals
                                     2507 Wellington Drive
                                     Augusta, GA 30909



                                     Quick Lane/Citibank
                                     PO Box 6497
                                     Sioux Falls, SD 57117


                                     Reliant Funding
                                     c/o The Aubrey Law Firm
                                     12 Powder Springs Street, Ste 240
                                     Marietta, GA 30064


                                     Sears
                                     PO Box 6282
                                     Sioux Falls, SD 57117



                                     Sheffield Financial
                                     PO box 580229
                                     Charlotte, NC 28258
Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06   Page:72 of 74
                                     Slatzer Swergold Leving et al
                                     475 Park Avenue
                                     18th Floor
                                     New York, NY 10016


                                     Square Recovery
                                     1455 Market Street
                                     San Francisco, CA 94103



                                     SRP FCU
                                     PO Box 6730
                                     N Augusta, SC 29861



                                     Suntrust Bank
                                     PO Box 305053
                                     Nashville, TN 37230



                                     Syncb/Belks
                                     PO box 965028
                                     Orlando, FL 32896


                                     Thomas Concrete of SC, Inc
                                     c/o William Kidd
                                     3883 Rogers Bridge Road, Ste 100
                                     Duluth, GA 30097


                                     US Bank
                                     PO Box 2407
                                     Minneapolis, MN 55402


                                     US Small Bus Admin
                                     233 Peachtree Street NE
                                     Ste 300
                                     Atlantic, GA 30303


                                     Watson & Knox Real Estate
                                     PO Box 539
                                     Thomson, GA 30824
Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06   Page:73 of 74
                                     Wells Fargo Vendor Fin SE
                                     PO box 3072
                                     Cedar Rapids, IA 52406



                                     Wells Fargo Vendor Fin Srv
                                     PO box 105743
                                     Atlanta, GA 30348
                    UNITED STATES BANKRUPTCY COURT
Case:18-11560-SDB Doc#:1 Filed:11/01/18 Entered:11/01/18 16:45:06                 Page:74 of 74
                     SOUTHERN DISTRICT OF GEORGIA
                               __________________


 In re:                                               Case No.

                                                      Chapter 13
 Bruce G Alford Jr and Heather S Alford


 Debtor(s).


              CERTIFICATION OF CREDITOR MAILING MATRIX
 The purpose of the Certification of Creditor Mailing Matrix form is to certify that the
 creditor information provided on the diskette (or by ECF submission) matches exactly
 the creditor information provided on the schedules. Accordingly, I hereby certify under
 penalty of perjury that the master mailing list of creditors submitted on computer diskette
 or electronically via the CM/ECF system is a true, correct and complete listing to the
 best of my knowledge and that the names and number of creditors provided on the
 diskette/ECF submission corresponds exactly to the creditor information listed on the
 schedules.

 I further acknowledge that (1) the accuracy and completeness in preparing the
 creditor listing are the shared responsibility of the debtor and the debtor’s attorney;
 (2) the court will rely on the creditor listing for all mailings; (3) the various
 schedules and statements required by the Bankruptcy Rules are not used for mailing
 purposes; and (4) that debtor, attorney and trustee information is not included on the
 diskette or electronic submission.

 The master mailing list of creditors is submitted via:
 G    computer diskette listing a total of              creditors which corresponds exactly
      to the schedules; or

 G
 X        electronic means (ECF) listing a total of       38       creditors which corresponds
          exactly to the schedules.

                                                      s/Bruce G Alford Jr
                                                      Debtor


                                                      s/Heather S Alford
                                                      Joint Debtor


                                                      s/Angela McElroy-Magruder
                                                      Attorney for Debtor(s)

 Date: November 1, 2018


 Revised: 10/05
